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                  8 Everi Games Inc.
                  9
                10                         UNITED STATES DISTRICT COURT
                11                       CENTRAL DISTRICT OF CALIFORNIA
                12 JOSE VALENZUELA, individually and             Case No. __
                   on behalf of all others similarly situated,   Assigned to Hon. __
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                13
                                              Plaintiffs,        CLASS ACTION
                14
                   v.                                            DEFENDANT EVERI GAMES INC.’S
                15                                               NOTICE OF REMOVAL
                   EVERI GAMES INC., and DOES 1
                16 through 10, inclusive,
                                                                 Date filed: November 17, 2023
                17                            Defendants.        Removal Date: ___
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                                               DEFENDANT’S NOTICE OF REMOVAL               23STCV22084
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                  1 TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                  2 CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFFS THROUGH
                  3 THEIR COUNSEL OF RECORD:
                  4        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,
                  5 Defendant Everi Games Inc. (“Everi”) hereby removes the above-captioned action from
                  6 the Superior Court of the State of California for the County of Los Angeles, which is
                  7 the judicial district in which the action is pending, to the United States District Court
                  8 for the Central District of California. As grounds for removal, Everi states as follows:
                  9 I.     REMOVAL IS PROPER AND TIMELY
                10         1.     On September 13, 2023, Plaintiff Jose Valenzuela (“Plaintiff”)
                11 commenced this action by filing a complaint in the Superior Court of the State of
                12 California for the County of Los Angeles, entitled Jose Valenzuela, v. Everi Games
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                13 Inc., et al., Los Angeles Superior Court, Case No. 23STCV22084 (the “State Action”).
                14 Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the (a) Summons, (b)
                15 Complaint, (c) Civil Case Cover Sheet with Addendum, (d) Notice of Case Assignment,
                16 (e) Voluntary Efficient Litigation Stipulation Packet, (f) First Amended General Order,
                17 (g) Order Pursuant to CCP 1054(a) Extending Time to Respond by 30 Days When
                18 Parties Agree to Early Organizational Meeting Stipulation, (h) Alternative Dispute
                19 Resolution Packet, (i) Certificate of Mailing for Court Order Re: Initial Status
                20 Conference Order, (j) Court Order Re: Initial Status Conference Order, (k) Initial Status
                21 Conference Order, (l) First Amended Complaint (“FAC”), (m) Notice and
                22 Acknowledgment of Receipt and (n) Joint Initial tatus Conference Class Action
                23 Response Statement filed in the State Action are attached in the Appendix filed
                24 concurrently herewith.
                25         2.     Removal to this Court is proper because the Central District of California
                26 is the “district and division” encompassing the Superior Court of the State of California
                27 for the County of Los Angeles. 28 U.S.C. § 1446(a).
                28         3.     This Notice of Removal is timely because it is being filed within thirty
                                                              2
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                  1 calendar days after Everi accepted service of the FAC and Summons by executing and
                  2 returning a Notice of Acknowledgment and Receipt to Plaintiff on December 11, 2023,
                  3 a true and correct copy of which is attached to the Declaration of Elizabeth A. Sperling
                  4 as Exhibit A. 28 U.S.C. § 1446(b)(1).
                  5        4.     Under California law, service of the complaint and summons is effectuated
                  6 as of the date a Notice of Acknowledgment and Receipt is returned to the plaintiff. See,
                  7 e.g., Hillman v. PacifiCorp, 2022 WL 597583, at *5 (E.D. Cal. Feb. 28, 2022) (“Under
                  8 California law, which governs the means by which service can be effectuated, a
                  9 summons is deemed served by [notice of acknowledgment and receipt] on the date the
                10 ‘acknowledgment of receipt of summons is executed and returned.’”).
                11         5.     Accordingly, a notice of removal filed within thirty days of the return of a
                12 Notice of Acknowledgement and Receipt is timely. See id. (“Because it is
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                13 uncontroverted that service here was accomplished by [notice of acknowledgment and
                14 receipt], that means that service was effected on April 14, 2020, giving PacifiCorp
                15 thirty days thereafter within which to timely remove."); Star Varga v. United Airlines,
                16 No. 09–02278 SI, 2009 WL 2246208, at *3 (N.D. Cal. July 24, 2009) (“Under
                17 California law, service was complete . . . the date defense counsel signed and returned
                18 the notice and acknowledgment of receipt. See Cal. Code Civ. Pro. § 415.30(c).
                19 Defendant removed this case . . . 30 days after service was complete. Removal of this
                20 action was therefore timely.”).
                21 II.     Complete Diversity Exists Between Plaintiff and Everi
                22         6.     Complete diversity exists between Plaintiff, on the one hand, and Everi,
                23 on the other hand, because Plaintiff and Everi are citizens of different states. See 28
                24 U.S.C. § 1332(a)(1); 28 U.S.C. § 1441(b).
                25         7.     A person is a citizen of the state in which he or she is domiciled. See
                26 Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088 (9th Cir. 1983). A party’s residence
                27 is prima facie evidence of his or his domicile. Ayala v. Cox Auto., Inc., No. CV 16-
                28 06341-GHK (ASx), 2016 WL 6561284, at *4 (C.D. Cal. Nov. 4, 2016) (citing State
                                                              3
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                  1 Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994)).
                  2        8.     Plaintiff has alleged that at all relevant times he was and is a resident of
                  3 the State of California. FAC ¶ 5. These allegations are prima facie evidence of domicile,
                  4 which creates a rebuttable presumption sufficient to support removal. Lew v. Moss, 797
                  5 F.2d 747, 751 (9th Cir. 1986) (allegations of residency in the complaint create
                  6 rebuttable presumption of domicile). Plaintiff is therefore a citizen of California for
                  7 purposes of removal. See Ayala, 2016 WL 6561284, at *4.
                  8        9.     For diversity purposes, a corporation is deemed a citizen of its state of
                  9 incorporation and the state where it has its principal place of business. 28 U.S.C.
                10 § 1332(c)(1). The Supreme Court has interpreted the phrase “principal place of
                11 business” in 28 U.S.C. section 1332(c)(1) to mean “the place where a corporation’s
                12 officers direct, control, and coordinate the corporation’s activities,” i.e., its “nerve
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                13 center,” which “should normally be the place where the corporation maintains its
                14 headquarters— provided that the headquarters is the actual center of direction, control,
                15 and coordination.” The Hertz Corp. v. Friend, 559 U.S. 77, 92–93 (2010).
                16         10.    Everi is incorporated under the laws of the state of Delaware. McGee Decl.
                17 ¶ 3. At all relevant times, Everi’s executive and administrative functions were, and still
                18 are, located in Las Vegas, Nevada. Id. ¶ 3. Accordingly, Everi’s principal place of
                19 business is in the state of Nevada, and Everi is a citizen of the states of Delaware and
                20 Nevada for the purpose of determining diversity of citizenship. See 28 U.S.C. §
                21 1332(a).
                22         11.    The citizenship of “DOES 1 to 10,” also named as Defendants in this
                23 action, should be disregarded for purposes of assessing jurisdiction. See 28 U.S.C. §
                24 1441(b) (“In determining whether a civil action is removable on the basis of the
                25 jurisdiction under section 1332(a) of this title, the citizenship of defendants sued under
                26 fictitious names shall be disregarded.”). Plaintiff has pleaded no facts as to who these
                27 individuals are, where they live, or how they are related to this case. FAC ¶¶ 8-9; see
                28 also McCabe v. Gen. Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987) (district court
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                  1 properly disregarded doe defendants where there was “no information as to who they
                  2 are or where they live or their relationship to the action” and therefore they were not
                  3 “indispensable parties and served no other purpose than protecting the plaintiff under
                  4 California pleading practice”). Accordingly, Plaintiff and Everi are citizens of different
                  5 states, and complete diversity exists between Plaintiff and Everi for purposes of
                  6 removal.
                  7 III.    The Amount in Controversy Exceeds $75,000
                  8         12.   In order to establish diversity jurisdiction, “the matter in controversy”
                  9 must exceed “the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C.
                10 § 1332(a).
                11          13.   “[A] defendant’s notice of removal need include only a plausible
                12 allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
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                13 Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2015). To satisfy this
                14 burden, a defendant may rely on a “chain of reasoning” that is based on “reasonable”
                15 “assumptions.” LaCross v. Knight Transp. Inc., 775 F.3d 1200, 1201–02 (9th Cir.
                16 2015). “An assumption may be reasonable if it is founded on the allegations of the
                17 complaint.” Arias v. Residence Inn by Marriott, 936 F.3d 920, 925 (9th Cir. 2019); see
                18 also Salter v. Quality Carriers, Inc., 974 F.3d 959, 964 (9th Cir. 2020) (“[I]n Arias we
                19 held that a removing defendant’s notice of removal need not contain evidentiary
                20 submissions but only plausible allegations of jurisdictional elements.” (quotations and
                21 citations omitted)). That is because “[t]he amount in controversy is simply an estimate
                22 of the total amount in dispute, not a prospective assessment of defendant’s liability.”
                23 Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010).
                24          14.   “[W]hen a defendant seeks federal-court adjudication, the defendant’s
                25 amount-in-controversy allegation should be accepted when not contested by the
                26 plaintiff or questioned by the court.” Dart Cherokee, 574 U.S. at 87. Moreover, in
                27 assessing whether the amount-in-controversy requirement has been satisfied, “a court
                28 must ‘assume that the allegations of the complaint are true and assume that a jury will
                                                               5
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                  1 return a verdict for the plaintiff on all claims made in the complaint.’” Campbell v.
                  2 Vitran Exp., Inc., 471 F. App’x 646, 648 (9th Cir. 2012) (quoting Kenneth Rothschild
                  3 Tr. v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002)). In
                  4 other words, the focus of the Court’s inquiry must be on “what amount is put ‘in
                  5 controversy’ by the plaintiff’s complaint, not what a defendant will actually owe.” Korn
                  6 v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing
                  7 Rippee v. Boston Mkt. Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005)).
                  8        15.    As demonstrated below, the amount in controversy exceeds the minimum
                  9 $75,000 jurisdictional threshold. Although Everi denies that Plaintiff’s claims have any
                10 merit or that Plaintiff is entitled to any relief, Everi avers, for the purposes of meeting
                11 the jurisdictional requirements for removal only, that if Plaintiff were to prevail on
                12 every claim and allegation in his FAC, the requested monetary recovery would exceed
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                13 $75,000. Everi reserves the right to present additional evidence establishing the amount
                14 placed in controversy by each of Plaintiff’s claims should Plaintiff challenge whether
                15 the jurisdictional amount-in-controversy threshold is satisfied. See Dart Cherokee, 574
                16 U.S. at 87–89; see also Salter, 974 F.3d at 959 (holding that only a “factual attack” that
                17 “contests the truth of the plaintiff’s factual allegations, usually by introducing evidence
                18 outside the pleadings” requires the removing defendant to “support her jurisdictional
                19 allegations with competent proof” (quotations and citations omitted)); Arias, 936 F.3d
                20 at 924 (“[W]hen a notice of removal plausibly alleges a basis for federal court
                21 jurisdiction, a district court may not remand the case back to state court without first
                22 giving the defendant an opportunity to show by a preponderance of the evidence that
                23 the jurisdictional requirements are satisfied.”).
                24                1.    Plaintiff’s First Claim for Unpaid Overtime Places
                25                      Approximately $35,235 in Controversy
                26         16.    Plaintiff alleges in his first cause of action that Everi “failed to compensate
                27 Plaintiff and Class members for all overtime hours worked in excess of eight hours per
                28 day and/or 40 hours per week as required by California Labor Code § 510 and 1194.”
                                                               6
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                  1 FAC ¶ 33.
                  2            17.   Specifically, Plaintiff alleges that Everi employed “Plaintiff as a Field
                  3 Technician II from August 2021 to September 16, 2022,” and that “Plaintiff last earned
                  4 $29 an hour.” FAC ¶ 12. Plaintiff further alleges that “[a]s a Field Technician II,
                  5 Plaintiff maintained, repaired and replaced casino games, e.g., slot machines, at the
                  6 casinos,” and “Defendants required Plaintiff to, on average, work three work orders or
                  7 tickets at different casinos every shift.” FAC ¶ 13. Accordingly, Plaintiff “typically
                  8 worked a 6 am to 5 pm shift,”—i.e., 11 hours a day—“and travelled alone to three
                  9 different casinos in San Diego, Riverside and Arizona—all in one shift.” FAC ¶ 14.
                10             18.   Everi’s records reflect that Plaintiff was employed by Everi from Monday,
                11 August 30, 2021, through Friday, September 16, 2022—i.e., approximately 54 weeks—
                12 and worked approximately 5 shifts every week. McGee Decl. ¶ 5. Thus, while the FAC
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                13 is bereft of any factual detail regarding Plaintiff’s purported claim or injury, for
                14 purposes of this analysis only, assuming 3 hours of overtime per shift based on
                15 Plaintiff’s own allegations, Plaintiff purportedly accrued approximately 850 hours of
                16 overtime during the time he was employed by Everi.
                17             19.   Plaintiff’s pay rate was $29 per hour during the time he was employed by
                18 Everi. FAC ¶ 12. This results in an overtime pay rate of $43.50 per hour.
                19             20.   Accordingly, while Everi denies liability altogether or that Plaintiff is
                20 entitled to any relief, for jurisdictional purposes only Plaintiff’s unpaid overtime claim
                21 theoretically places approximately $35,235 in controversy as follows:
                22      Number of shifts (54 weeks x 5 shifts per 270
                23      week)
                24      Total overtime hours (number of shifts x 810
                25      3 hours)
                26      Overtime pay rate (ordinary pay rate x $43.50
                27      1.5)
                28      Total (total overtime hours x overtime $35,235
                                                                 7
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                  1
                         pay rate)
                  2
                                     2.     Plaintiff’s Second Claim for Unpaid Meal Period Premiums
                  3
                                            Places Approximately $7,830 in Controversy
                  4
                               21.   Plaintiff alleges that “Plaintiff was required to work for periods longer
                  5
                        than five (5) hours without an uninterrupted meal period of not less than thirty (30)
                  6
                        minutes. Plaintiff was not authorized or permitted lawful meal periods, and was not
                  7
                        provided with one hour’s wages in lieu thereof . . . .” FAC ¶ 42.
                  8
                               22.   Accordingly, Plaintiff alleges that “Plaintiff is entitled to recover one
                  9
                        additional hour of pay at the employee’s regular hourly rate of compensation for each
                10
                        workday that the meal period was not provided.” FAC ¶ 46.
                11
                               23.   Under Labor Code section 226.7, “if an employer fails to provide an
                12
                        employee a meal or rest or recovery period in accordance with a state law . . . the
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                13
                        employer shall pay the employee one additional hour of pay at the employee’s regular
                14
                        rate of compensation for each workday that the meal or rest or recovery period is not
                15
                        provided.” Cal. Lab. Code § 226.7(c); Ferra v. Loews Hollywood Hotel, LLC, 11 Cal.
                16
                        5th 858, 864-65 (2021).
                17
                               24.   During the time Plaintiff was employed by Everi, he worked
                18
                        approximately 5 days a week for 54 weeks and earned $29 per hour. McGee Decl. ¶¶
                19
                        5-6.
                20
                               25.   Plaintiff claims that he “typically worked a 6 am to 5 pm shift and travelled
                21
                        alone to three different casinos in San Diego, Riverside and Arizona—all in one shift,”
                22
                        and that because “Plaintiff travelled and worked alone at the casinos . . . there was
                23
                        nobody to relieve him for his meal and rest breaks.” FAC ¶ 14.
                24
                               26.   The FAC is bereft of any factual detail regarding Plaintiff’s purported
                25
                        claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                26
                        entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                27
                        the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                28
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                  1 regarding the number of alleged violations, Everi assumes one noncompliant meal
                  2 period per shift.
                  3             27.   As Plaintiff generally worked approximately 5 days per week for
                  4 approximately 54 weeks, this theoretically places an additional $7,830 in controversy
                  5 for alleged meal period violations as follows:
                  6     Number of shifts (54 weeks x 5 shifts per 270
                  7     week)
                  8     Ordinary pay rate                             $29
                  9     Total (number of shifts x ordinary pay $7,830
                10      rate)
                11                    3.    Plaintiff’s Third Claim for Unpaid Rest Period Premiums
                12                          Places Approximately $15,660 in Controversy
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                13              28.   Plaintiff alleges that “Defendants required Plaintiff to work four (4) or
                14 more hours without authorizing or permitting a ten (10) minute rest period per each
                15 four (4) hour period worked” (FAC ¶ 51), and thus “is entitled to recover one additional
                16 hour of pay at the employee’s regular hourly rate of compensation for each workday
                17 that the rest period was not provided.” FAC ¶ 54.
                18              29.   As above, under Labor Code section 226.7, “if an employer fails to
                19 provide an employee a meal or rest or recovery period in accordance with a state
                20 law . . . the employer shall pay the employee one additional hour of pay at the
                21 employee’s regular rate of compensation for each workday that the meal or rest or
                22 recovery period is not provided.” Cal. Lab. Code § 226.7(c); Ferra, 11 Cal. 5th at 864-
                23 65 (2021).
                24              30.   During the time Plaintiff was employed by Everi, he worked
                25 approximately 5 days a week for 54 weeks and earned $29 per hour. McGee Decl. ¶¶
                26 5-6.
                27              31.   Plaintiff claims that he “typically worked a 6 am to 5 pm shift and travelled
                28 alone to three different casinos in San Diego, Riverside and Arizona—all in one shift,”
                                                                  9
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                  1 and that because “Plaintiff travelled and worked alone at the casinos . . . there was
                  2 nobody to relieve him for his meal and rest breaks.” FAC ¶ 14.
                  3          32.    The FAC is bereft of any factual detail regarding Plaintiff’s purported
                  4 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                  5 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                  6 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                  7 regarding the number of alleged violations, Everi assumes two noncompliant rest
                  8 periods per shift.
                  9          33.    As Plaintiff generally worked approximately 5 days per week for
                10 approximately 54 weeks, this theoretically places an additional $15,660 in controversy
                11 for alleged rest break violations as follows:
                12      Number of shifts (54 weeks x 5 shifts per 270
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                13      week)
                14      Rest periods per shift                       2
                15      Ordinary pay rate                            $29
                16      Total (number of shifts x rest periods per $15,660
                17      shift x ordinary pay rate)
                18                  4.      Plaintiff’s Fourth Claim for Failure to Pay Minimum Wages
                19                          Places Approximately $23,490 in Controversy
                20           34.    Plaintiff alleges that “Defendants paid Plaintiff and Class members less
                21 than minimum wages when it required them to work during meal periods and rest
                22 breaks and donning and doffing ‘off the clock’; and when it failed to pay them proper
                23 compensation for all hours worked, including time worked during their missed and/or
                24 interrupted meal and/or rest periods and ‘off the clock.’” FAC ¶ 57.
                25           35.    If an employer fails to pay minimum wages for all hours worked in
                26 amounts set by state law, as required by California Labor Code sections 1194(a) “any
                27 employee receiving less than the legal minimum wage . . . is entitled to . . . the unpaid
                28 balance of the full amount of this minimum wage . . . compensation, including interest
                                                                    10
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                  1 thereon, reasonable attorney’s fees, and cost of suit.” Cal. Lab. Code §1194(a).
                  2 Additionally, in any action to recover wages less than the minimum wage, “an
                  3 employee shall be entitled to recover liquidated damages in an amount equal to the
                  4 wages unlawfully unpaid and interest thereon.” Cal. Lab. Code §1194.2(a).
                  5             36.   As above, Plaintiff alleges he “typically worked a 6 am to 5 pm shift,”—
                  6 i.e., 11 hours a day—“and travelled alone to three different casinos in San Diego,
                  7 Riverside and Arizona—all in one shift.” FAC ¶ 14. Plaintiff also generally worked
                  8 approximately 5 days per week for approximately 54 weeks. McGee Decl. ¶ 5.
                  9             37.   The FAC is bereft of any factual detail regarding Plaintiff’s purported
                10 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                11 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                12 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
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                13 regarding the number of alleged violations, Everi assumes one minimum wage
                14 violation of approximately 3 hours per shift, which would theoretically result in an
                15 additional $23,490 in controversy as follows:
                16      Number of shifts (54 weeks x 5 shifts per 270
                17      week)
                18      Total unpaid / overtime hours (number of 810
                19      shifts x 3 hours)
                20      Ordinary pay rate                             $29
                21      Total (overtime hours x ordinary pay $23,490
                22      rate)
                23                    5.    Plaintiff’s Fifth Claim for Failure to Furnish Timely and
                24                          Accurate Wage Statements Places Approximately $2,650 in
                25                          Controversy
                26              38.   Plaintiff alleges that “Defendants have intentionally and willfully failed to
                27 provide employees with complete and accurate wage statements,” including by failing
                28 “to correctly identify the total hours worked and the gross wages earned by Plaintiff
                                                                  11
                                                   DEFENDANT’S NOTICE OF REMOVAL                    23STCV22084
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                  1 and Class members; the overtime hours worked by Plaintiff and Class members; and
                  2 the meal period and rest break premiums owing to Plaintiff and Class members.’”
                  3 FAC ¶ 63. Accordingly, Plaintiff seeks “the greater of their actual damages caused by
                  4 Defendants’ failure to comply with California Labor Code § 226(a), or an aggregate
                  5 penalty not exceeding four thousand dollars per employee.” FAC ¶ 67.
                  6          39.    Under Labor Code section 226(e)(1), an employee suffering injury as a
                  7 result of an intentional failure to comply with section 226(a) is entitled to “recover the
                  8 greater of all actual damages or fifty dollars ($50) for the initial pay period in which a
                  9 violation occurs and one hundred dollars ($100) per employee for each violation in a
                10 subsequent pay period, not to exceed an aggregate penalty of four thousand dollars
                11 ($4,000), and is entitled to an award of costs and reasonable attorney’s fees.” Cal. Lab.
                12 Code § 226(e)(1).
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                13           40.    Plaintiff was paid biweekly for approximately 54 weeks. McGee Decl. ¶¶
                14 5-6.
                15           41.    The FAC is bereft of any factual detail regarding Plaintiff’s purported
                16 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                17 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                18 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                19 regarding the number of alleged violations, Everi assumes 27 violations for failure to
                20 furnish timely and accurate wage statements, which would theoretically result in
                21 penalties of $2,650 as follows:
                22      Biweekly pay periods                      27
                23      Initial pay period penalty                $50
                24      Subsequent pay period penalties (26 $2,600
                25      subsequent pay periods x $100 penalty)
                26      Total ($50 initial penalty + $2,600 $2,650
                27      subsequent penalties)
                28
                                                                12
                                                 DEFENDANT’S NOTICE OF REMOVAL                  23STCV22084
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                  1                6.    Plaintiff’s Sixth Claim for Waiting Time Penalties Places
                  2                      Approximately $6,960 in Controversy
                  3          42.   Plaintiff alleges that “[d]uring the relevant time period, Defendants
                  4 willfully failed to pay Class members who are no longer employed by Defendants their
                  5 wages, earned and unpaid, either at the time of discharge, or within 72 hours of their
                  6 leaving Defendants’ employ.” FAC ¶ 71.
                  7          43.   If an employer fails to pay all wages due to an employee at the time of
                  8 termination, as required by California Labor Code section 201, or within 72 hours after
                  9 resignation, as required by California Labor Code section 202, then the wages “shall
                10 continue as a penalty from the due date thereof at the same rate until paid or until an
                11 action therefor is commenced,” for up to a maximum of 30 calendar days. Cal. Lab.
                12 Code § 203.
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                13           44.   To calculate waiting time penalties, the employee’s daily rate of pay is
                14 multiplied by a maximum of 30 days, depending on the length of delay in receipt of
                15 wages. See Mamika v. Barca, 68 Cal. App. 4th 487, 493 (1998) (holding that the waiting
                16 time penalty is “equivalent to the employee’s daily wages for each day he or she
                17 remained unpaid up to a total of 30 days” and noting that the “critical computation” is
                18 “the calculation of a daily wage rate, which can then be multiplied by the number of
                19 days of nonpayment, up to 30 days”); Tajonar v. Echosphere, L.L.C., 2015 WL
                20 4064642, at *4 (S.D. Cal. July 2, 2015) (similar).
                21           45.   The FAC is bereft of any factual detail regarding Plaintiff’s purported
                22 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                23 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                24 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                25 regarding the number of alleged violations, Everi assumes a 30 day delay in paying
                26 wages due to Plaintiff at the time of his termination, which would theoretically result
                27 in penalties of $6,960 as follows:
                28      Ordinary hourly rate                      $29
                                                               13
                                                DEFENDANT’S NOTICE OF REMOVAL                  23STCV22084
              2365744
          Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 14 of 127 Page ID #:14



                  1
                         Daily pay rate (ordinary hourly rate x 8 $232
                  2
                         hours per day)
                  3
                         30 days maximum penalty                       30
                  4
                         Total                                         $6,960
                  5
                                      7.    Plaintiff’s Seventh Claim for Violation of the UCL Places
                  6
                                            Additional Amounts in Controversy
                  7
                              46.     Plaintiff alleges that Everi violated multiple prongs of California’s Unfair
                  8
                        Competition Law (“UCL”), Business & Professions Code § 17200, et. seq. See FAC ¶¶
                  9
                        76-92.
                10
                              47.     While the UCL does not provide for monetary damages, the amount in
                11
                        controversy for purposes of removal includes “the cost of complying with an
                12
                        injunction.” Gonzales v. CarMax Auto Superstores, LLC, 840 F.3d 644, 648-49 (9th
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                13
                        Cir. 2016).
                14
                              48.     In addition to “restitution of the wages withheld and retained by
                15
                        Defendants during a period that commences four years prior to the filing of this
                16
                        complaint” (FAC ¶ 92), Plaintiff also seeks injunctive relief. See Prayer for Relief ¶ 35.
                17
                              49.     Accordingly, while Everi denies liability altogether, and although the
                18
                        jurisdictional minimum is easily met by the amounts placed in controversy from
                19
                        Plaintiff’s other claims, Plaintiff’s request for injunctive relief as part of his UCL claim
                20
                        places substantial additional expenses in controversy in this action as the cost of
                21
                        complying with the requested injunctive relief for Everi would in and of itself likely
                22
                        exceed the jurisdictional amount in controversy requirement. Declaration of Elizabeth
                23
                        A. Sperling Decl. ¶ 4.
                24
                                      8.    Plaintiff’s Eighth Claim for PAGA Penalties Places
                25
                                            Approximately $5,300 in Controversy
                26
                              50.     Plaintiff alleges that “Plaintiff was employed by Defendants and the
                27
                        alleged violations were committed against him during his time of employment and he
                28
                                                                  14
                                                   DEFENDANT’S NOTICE OF REMOVAL                     23STCV22084
              2365744
          Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 15 of 127 Page ID #:15



                  1 is, therefore, Aggrieved Employee” under California’s Private Attorneys General Act
                  2 (“PAGA”), California Labor Code §§ 2698, et seq. FAC ¶¶ 93-103,
                  3          51.    Under PAGA, an aggrieved employee can seek to recover a civil penalty
                  4 for violation of California’s Labor Code of “one hundred dollars ($100) for each
                  5 aggrieved employee per pay period for the initial violation and two hundred dollars
                  6 ($200) for each aggrieved employee per pay period for each subsequent violation.” Cal.
                  7 Lab. Code § 2699.
                  8          52.    The FAC is bereft of any factual detail regarding Plaintiff’s purported
                  9 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                10 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                11 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                12 regarding the number of alleged violations, Everi assumes at least one violation of the
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                13 labor code, which would theoretically result in penalties of approximately $5,300 as
                14 follows:
                15      Biweekly pay periods                       27
                16      Initial pay period penalty                 $100
                17      Subsequent pay period penalties (26 $5,200
                18      subsequent by periods x $200 penalty)
                19      Total ($100 initial penalty + $5,200 $5,300
                20      subsequent penalties)
                21                  9.    Plaintiff’s Ninth Claim for FLSA Violations Places
                22                        Approximately $35,235 in Controversy
                23           53.    Plaintiff alleges that “Defendants have violated the [Fair Labor Standards
                24 Act, 29 U.S.C. §§ 201 et seq.] by failing to pay FLSA Class at one-and-one-half (1.5)
                25 times the regular rate of pay when they worked in excess of forty (40) hours in a week,”
                26 and by “failing to keep required accurate records of all hours worked,” and Everi is
                27 therefore “liable for unpaid compensation, together with an amount equal as liquidated
                28 damages, attorneys’ fees and costs of this action.” FAC ¶¶ 104-114.
                                                                15
                                                 DEFENDANT’S NOTICE OF REMOVAL                  23STCV22084
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                  1            54.   Under the FLSA, “[a]ny employer who violates the provisions of section
                  2 206 [‘Minimum wage’] or section 207 [‘Maximum hours’] of this title shall be liable
                  3 to the employee or employees affected in the amount of their unpaid minimum wages,
                  4 or their unpaid overtime compensation, as the case may be, and in an additional equal
                  5 amount as liquidated damages.” 29 U.S.C. § 216(b).
                  6            55.   The FAC is bereft of any factual detail regarding Plaintiff’s purported
                  7 claim or injury. Accordingly, while Everi denies liability altogether or that Plaintiff is
                  8 entitled to any relief, for jurisdiction purposes only and for this analysis only, based on
                  9 the face of Plaintiff’s allegations and without the benefit of any actual facts alleged
                10 regarding the number of alleged violations, additional penalties of approximately
                11 $35,235 are theoretically in controversy as follows:
                12      Number of shifts (54 weeks x 5 shifts per 270
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                13      week)
                14      Total overtime hours (number of shifts x 810
                15      3 hours)
                16      Overtime pay rate (ordinary pay rate x $43.50
                17      1.5)
                18      Total (total overtime hours x overtime $35,235
                19      pay rate)
                20                                               ***
                21             56.   As set forth above, although Everi denies that Plaintiff’s claims have any
                22 merit or that Plaintiff is entitled to any relief whatsoever, Plaintiff has placed at least
                23 $132,360 in controversy by his allegations.
                24             57.   Critically, this amount does not include the cost of complying with the
                25 injunctive relief Plaintiff seeks, or Plaintiff’s request for attorneys fees under various
                26 provisions of the Labor Code, which, although Everi denies Plaintiff is entitled to them,
                27 will likely exceed the amount of damages and penalties Plaintiff seeks. See Gonzales
                28 v. CarMax Auto Superstores, LLC, 840 F.3d 644, 648–49 (9th Cir. 2016) (amount in
                                                                 16
                                                  DEFENDANT’S NOTICE OF REMOVAL                  23STCV22084
              2365744
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                  1 controversy includes “damages (compensatory, punitive, or otherwise) and the cost of
                  2 complying with an injunction, as well as attorneys’ fees awarded under fee shifting
                  3 statutes”).
                  4         58.   This is also a putative class action and the claims of the putative class
                  5 members would exponentially multiply the dollar values of the claims alleged by
                  6 Plaintiff.
                  7         59.   Accordingly, based on the nature of Plaintiff’s claims and the relief
                  8 sought, the amount in controversy here greatly exceeds $75,000, exclusive of interest
                  9 and costs. 28 U.S.C. § 1332(a).
                10                              RESERVATION OF RIGHTS
                11          60.   Everi denies all allegations of liability in Plaintiff’s FAC and files this
                12 Notice of Removal without waiving any defenses, objections, exceptions, or
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                13 obligations that may exist in its favor in either state or federal court.
                14          WHEREFORE, based on the foregoing, this Court has diversity jurisdiction
                15 over this action pursuant to 28 U.S.C. §§ 1332 and 1441 and Everi respectfully removes
                16 this action from the Superior Court of the State of California for the County of Los
                17 Angeles to this Court.
                18                                           Respectfully submitted,
                19      DATED: January 10, 2024              GLASER WEIL FINK HOWARD
                                                              JORDAN & SHAPIRO LLP
                20
                21                                           By:
                                                                   ELIZABETH A. SPERLING
                22                                                 ALEXANDER R. MILLER
                                                                   JOSEPH D. HADACEK
                23                                                 Attorneys for Defendant
                                                                   Everi Games Inc.
                24
                25
                26
                27
                28
                                                               17
                                                DEFENDANT’S NOTICE OF REMOVAL                  23STCV22084
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          EXHIBIT A
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                  1     ELIZABETH A. SPERLING - State Bar No. 231474
                        esperling@glaserweil.com
                  2     ALEXANDER R. MILLER - State Bar No. 294474
                        amiller@glaserweil.com
                  3     JOSEPH D. HADACEK – State Bar No. 303087
                        jhadacek@glaserweil.com
                  4     GLASER WEIL FINK HOWARD
                          JORDAN & SHAPIRO LLP
                  5     600 W. Broadway, Suite 1080
                        San Diego, CA 92101
                  6     Telephone: (619) 765-4380
                        Facsimile: (619) 732-3498
                  7
                        Attorneys for Defendant
                  8     Everi Games Inc.
                  9

                 10                            UNITED STATES DISTRICT COURT
                 11                          CENTRAL DISTRICT OF CALIFORNIA
                 12     JOSE VALENZUELA, individually and             Case No.:
                        on behalf of all others similarly situated,   Assigned to Hon.
Glaser Weil




                 13
                                            Plaintiff,                CLASS ACTION
                 14
                        v.                                            DEFENDANT’S APPENDIX OF
                 15                                                   STATE COURT FILINGS
                        EVERI GAMES INC., and DOES 1
                 16     through 10, inclusive,
                                                                      Date filed: November 17, 2023
                 17                         Defendants.               Removal Date: _______
                 18

                 19

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                                            DEFENDANT’S APPENDIX OF STATE COURT FILINGS    EXHIBIT A
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                                                                                             Page 1
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                  1                        APPENDIX OF STATE COURT FILINGS
                  2
                              DOCUMENT                         DATED                     EXHIBIT
                  3     Summons                        Filed: September 13, 2023             1
                  4
                        Complaint                      Filed: September 13, 2023             2
                  5

                  6
                        Civil Case Cover Sheet         Filed: September 13, 2023             3
                        with Addendum
                  7
                        Notice of Case Assignment      Filed: September 13, 2023             4
                  8
                        Voluntary Efficient            Filed: September 13, 2023             5
                  9
                        Litigation Stipulation
                 10     Packet
                 11     First Amended General          Filed: September 13, 2023             6
                        Order
                 12
                        Order Pursuant to CCP          Filed: September 13, 2023             7
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                 13     1054(a) Extending Time to
                 14     Respond by 30 Days When
                        Parties Agree to Early
                 15     Organizational Meeting
                 16     Stipulation
                 17     Alternative Dispute            Filed: September 13, 2023             8
                        Resolution Packet
                 18
                        Certificate of Mailing for     Filed: September 27, 2023             9
                 19     Court Order Re: Initial
                 20
                        Status Conference Order

                 21
                        Minute Order (Court Order      Filed: September 27, 2023            10
                        Re: Initial Status
                 22     Conference Order)
                 23     Initial Status Conference      Filed: September 27, 2023            11
                        Order
                 24
                        First Amended Complaint        Filed: November 17, 2023             12
                 25

                 26     Notice and                     Filed: December 11, 2023             13
                        Acknowledgment of
                 27
                        Receipt
                 28

                                                                 1
                                           DEFENDANT’S APPENDIX OF STATE COURT FILINGS   EXHIBIT A
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                  1
                        Joint Initial Status           Filed: January 9, 2024               14
                  2     Conference Class Action
                        Response Statement
                  3

                  4     DATED: January 10, 2024                Respectfully submitted,
                  5                                            GLASER WEIL FINK HOWARD
                                                                JORDAN & SHAPIRO LLP
                  6

                  7
                                                               By:
                  8
                                                                     ELIZABETH A. SPERLING
                  9
                                                                     ALEXANDER R. MILLER
                                                                     JOSEPH D. HADACEK
                 10
                                                                     Attorneys for Defendant
                                                                     Everi Games Inc.
                 11

                 12
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                                         DEFENDANT’S APPENDIX OF STATE COURT FILINGS     EXHIBIT A
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          EXHIBIT 1
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                                                                                                                                                     SUM-100
                                           SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                           Electronically FILED by
                                                                                                                Superior Court of California,
 EVERI GAMES INC.; and DOES 1 to 10,                                                                            County of Los Angeles
                                                                                                                9/13/2023 1: 13 PM
                                                                                                                David W, Slayton,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                Executive Officer/Clerk of Court,
                                                                                                                By R. Lozano, Deputy Clerk
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
 JOSE VALENZUELA, individually and on behalf of all others similarly
 situated,
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
 continuación.
    Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
 que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrá quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                    CASE NUMBER:
(El nombre y dirección de la corte es): Los Angeles Superior Court
                                                                                                         (Número del Caso):


111 North Hill Street
                                                                                                          2 3ST CV 2 2 08 4
Los Angeles, California 90012
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Sang (James) Park, PARK APC, 8383 Wilshire Boulevard, Ste 800, Beverly Hills, CA 90211, (310) 627-2964
                                                    David W. Slayton, Executive Officer/Clerk of Court
 DATE:                                                               Clerk, by                                                                        , Deputy
 (Fecha)
            0911312023                                                                         R. Lozano                                               (Adjunto)
                                                                     (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  [SEAL]
                                  1.       D
                                          as an individual defendant.
                                  2.      as the person sued under the fictitious name of (specify):
                                           D
                                      3.   D    on behalf of (specify):

                                           under:   D     CCP 416.10 (corporation)                        D        CCP 416.60 (minor)
                                                    D     CCP 416.20 (defunct corporation)                D        CCP 416.70 (conservatee)
                                                    D     CCP 416.40 (association or partnership)         D        CCP 416.90 (authorized person)
                                                    D   other (specify):
                                      4.   D    by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use
                                                                      SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California
   SUM-100 [Rev. July 1, 2009]
                                                                                                                              EXHIBIT 1          www.courtinfo.ca.gov

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          EXHIBIT 2
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  1   SANG (JAMES) PARK, SBN 232956
      sang@park-lawyers.com                                        Electronically FILED by
  2   PARK APC                                                     Superior Court of California,
      8383 Wilshire Boulevard, Suite 800                           County of Los Angeles
                                                                   9/13/2023 1: 13 PM
  3   Beverly Hills, California 90211                              David W, Slayton,
      Telephone:     (310) 627-2964                                Executive Officer/Clerk of Court,
  4   Fax:           (310) 362-8279                                By R. Lozano, Deputy Clerk

  5   Attorneys for Plaintiff

  6

  7                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

  8                               FOR THE COUNTY OF LOS ANGELES

  9

 10   JOSE VALENZUELA, individually and on       Case No.: 2 3ST CV 2 2 08 4
      behalf of all others similarly situated,
 11
                    Plaintiff,                   CLASS ACTION
 12
            vs.                                  COMPLAINT
 13
      EVERI GAMES INC.; and DOES 1 to 10,        (1)   Violation of California Labor Code §§ 510,
 14                                                    1194 and 1198 (Unpaid Overtime)
                    Defendants.                  (2)   Violation of California Labor Code
 15                                                    §§ 226.7 and 512(a) (Unpaid Meal Period
                                                       Premiums)
 16                                              (3)   Violation of California Labor Code § 226.7
                                                       (Unpaid Rest Period Premiums)
 17                                              (4)   Violation of California Labor Code §§ 1194
                                                       1194.2, 1197, and Minimum Wage Order
 18                                                    (Failure to Pay Minimum Wage)
                                                 (5)   Violation of California Labor Code
 19                                                    § 226(a) (Failure to Furnish Timely and
                                                       Accurate Wage Statements)
 20                                              (6)   Violation of Labor Code §§ 201 and 202
                                                       (Wages Not Timely Paid Upon Termination)
 21                                              (7)   Violation of California Business &
                                                       Professions Code §§ 17200, et seq.
 22

 23                                              DEMAND FOR JURY TRIAL

 24

 25

 26

 27

 28


                                        CLASS ACTION COMPLAINT                   EXHIBIT 2
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 1                                      JURISDICTION AND VENUE

 2            1.      This class action is brought pursuant to California Code of Civil Procedure §

 3    382. The monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdiction

 4    limits of the Superior Court and will be established according to proof at trial. The penalties

 5    sought by Plaintiff exceed the minimal jurisdiction limits of the Superior Court and will be

 6    established according to proof at trial.

 7            2.      This Court has jurisdiction over this action pursuant to the California

 8    Constitution, Article VI § 10, which grants the Superior Court “original jurisdiction in all causes

 9    except those given by statute to other courts.” The statutes under which this action is brought

10
10    do not specify any other basis for jurisdiction.

11
11            3.      This Court has jurisdiction over all Defendants because, upon information and

12
12    belief, each party is either a citizen of California, has sufficient minimum contacts in California,

13
13    or otherwise intentionally avails itself of the California market so as to render the exercise of

14
14    jurisdiction over it by the California courts consistent with traditional notions of fair play and

15
15    substantial justice.

16
16            4.      Pursuant to CCP § 395(a) trial is proper in any county where any defendant

17
17    resides. Because Defendants are out of state corporations, Plaintiff is free to file in any county

18
18    in California. (Easton v. Superior Court (1970) 12 Cal.App.3d 243, 246)

19
19                                               THE PARTIES

20
20            5.      Plaintiff is, and at all relevant times was, a citizen of the state of California.

21
21    Plaintiff worked as a non-exempt employee from August 2021 to September 16, 2022. Plaintiff

22
22    last earned $29 an hour.

23
23            6.      Plaintiff reserves the right to seek leave to amend this complaint to add new

24
24    plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v.

25
25    American Savings and Loan Association, 5 Cal. 3d 864, 872 (1971), and other applicable law.

26
26            7.      Defendant Everi Games Inc. (“Everi Games” or “Defendants”) is a Delaware

27
27    corporation. At all times hereinafter mentioned, Defendants were employers whose employees

28
28    were engaged throughout this county and the State of California.

                                                     Page 1
                                             CLASS ACTION COMPLAINT                         EXHIBIT 2
                                                                                              Page 6
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 1           8.      Plaintiff does not know the true names or capacities of the persons or entities

 2    sued as DOES 1 to 10, inclusive, and therefore sues them by such fictitious names. Each of the

 3    DOE Defendants was in some manner legally responsible for the violations alleged. Plaintiff

 4    will amend this complaint to set forth the true names and capacities of these Defendants when

 5    they have been ascertained, together with appropriate charging allegations, as may be necessary.

 6           9.      At all times, the Defendants named as DOES 1 to 10, inclusive, and each of

 7    them, were residents of, doing business in, availed themselves of the jurisdiction of, and/or

 8    injured Plaintiff and aggrieved employees in the State of California.

 9           10.     At all times, each Defendant was the agent, servant, or employee of the other

10
10    Defendants and, in acting and omitting to act as alleged herein, acted within the course and

11
11    scope of that agency or employment.

12
12           11.     Everi Games and DOES 1 to 10 are collectively referred to herein as “Defendants.”

13
13                                      DEFENDANTS’ CONDUCT

14
14           12.     Defendants employed Plaintiff as a Field Technician II from August 2021 to

15
15    September 16, 2022. Plaintiff last earned $29 an hour.

16
16           13.     As a Field Technician II, Plaintiff maintained, repaired and replaced casino

17
17    games, e.g., slot machines, at the casinos. Defendants required Plaintiff to, on average, work

18
18    three work orders or tickets at different casinos every shift.

19
19           14.     Plaintiff typically worked a 6 am to 5 pm shift and travelled alone to three

20
20    different casinos in San Diego, Riverside and Arizona—all in one shift. Defendants required

21
21    Plaintiff to drive 1.5 to 2 hours to each casino location and back home. Plaintiff travelled and

22
22    worked alone at the casinos so there was nobody to relieve him for his meal and rest breaks.

23
23           15.     During the course of Plaintiff's employment, Defendants failed to compensate

24
24    Plaintiff and Class members for all overtime hours worked in excess of eight hours per day

25
25    and/or 40 hours per week as required by Labor Code §§ 510 and 1194, and applicable Industrial

26
26    Welfare Commission’s (“IWC”) Wage Orders.

27
27

28
28

                                                    Page 2
                                            CLASS ACTION COMPLAINT                     EXHIBIT 2
                                                                                         Page 7
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 1           16.     Plaintiff and Class members were not authorized or permitted lawful meal

 2    periods and were not provided with one hour’s wages in lieu thereof in violation of, among

 3    others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders.

 4           17.     Defendants' non-exempt employees were not authorized or permitted lawful meal

 5    periods, and were not provided with one hour’s wages in lieu thereof, in one or more of the

 6    following manners:

 7                   (a)     employees were regularly not authorized or permitted full thirty-minute

 8                           meal periods for workdays in excess of five and/or ten hours and were

 9                           not compensated one hour’s wages in lieu thereof, all in violation of,

10
10                           among others, Labor Code §§ 226.7, 512, and applicable IWC Wage

11
11                           Orders

12
12                   (b)     employees were required to work through their daily meal period(s), or

13
13                           work an unlawful “on-duty meal period”

14
14                   (c)     employees were required to work longer than five hours before being

15
15                           allowed to take a meal period

16
16                   (d)     employees were severely restricted in their ability to take a meal period

17
17           18.     Further Defendants failed to provide Plaintiff and Class members their second

18
18    meal periods for shifts longer than ten hours.

19
19           19.     Plaintiff and Class members were not authorized or permitted lawful rest breaks

20
20    and were not provided with one hour’s wages in lieu thereof in violation of, among others,

21
21    Labor Code § 226.7 and applicable IWC Wage Orders.

22
22           20.     As a result, Defendants failed to timely pay Plaintiff and Class members for all

23
23    wages owed to them and Plaintiff and Class members’ paychecks did not include all wages

24
24    owed to Plaintiff and Class members.

25
25           21.     Defendants also failed to correctly record Plaintiff and Class members' meal

26
26    periods as required by Labor Code § 1198 and applicable IWC Wage Orders.

27
27

28
28

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 1                                    CLASS ACTION ALLEGATIONS

 2           22.    Plaintiff brings this action individually, as well as on behalf of each and all other

 3    persons similarly situated in a concerted effort to improve wages and working conditions for

 4    other non-exempt and/or hourly employees, and thus seeks class certification under Code of

 5    Civil Procedure § 382.

 6           23.    All claims alleged arise under California law for which Plaintiff seeks relief

 7    authorized by California law.

 8           24.    The proposed Class consists of and is defined as:

 9                  All current and/or former non-exempt employees that worked for
                    Defendants in California within four years prior to the filing of this
10
10                  Complaint.
11
11
             25.    The proposed subclasses consist of and are defined as:
12
12
                    OVERTIME SUBCLASS: All members of the Class who were
13
13                  not paid overtime compensation for all hours worked in excess
                    of eight hours per day and/or 40 hours per week.
14
14
                    MEAL PERIOD SUBCLASS: All members of the Class who
15
15                  were not authorized or permitted to take a 30-minute,
                    uninterrupted meal period for every five hours worked per day
16
16                  and were not compensated one hour’s pay for each day on
                    which such meal period was not authorized or permitted.
17
17
                    REST BREAK SUBCLASS: All members of the Class who
18
18                  were not authorized or permitted to take a 10-minute,
                    uninterrupted rest break for every four hours worked per day, or
19
19                  major fraction thereof, and were not compensated one hour’s
                    pay for each day on which such rest break was not authorized or
20
20                  permitted.

21
21                  UNPAID WAGES SUBCLASS: All members of the Class who
                    performed work for Defendants and were not compensated.
22
22
                    WAITING TIME SUBCLASS: All members of the Class who, at
23
23                  any time after the date three years prior to the filing of this
                    Complaint, separated their employment from Defendants and
24
24                  were not paid wages within the times specified by Labor Code §§
                    201-203 and are owed restitution for waiting time penalties
25
25                  deriving from wages.
26
26                  WAGE STATEMENT SUB-CLASS: All members of the Class
                    who received inaccurate wage statements.
27
27
             26.    Plaintiff reserves the right to establish additional subclasses as appropriate.
28
28

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 1           27.     At all material times, Plaintiff was a member of the Class.

 2           28.     There is a well-defined community of interest in the litigation and the Class is

 3    readily ascertainable:

 4                   (a)       Numerosity: The members of the class (and each subclass, if any) are

 5                             so numerous that joinder of all members would be unfeasible and

 6                             impractical. The membership of the entire class is unknown to

 7                             Plaintiff at this time; however, the class is estimated to be greater than

 8                             one hundred (100) individuals and the identity of such membership is

 9                             readily ascertainable by inspection of Defendants’ employment records.

10
10                   (b)       Typicality: Plaintiff is qualified to, and will, fairly and adequately

11
11                             protect the interests of each class member with whom there is a shared,

12
12                             well-defined community of interest. Plaintiff’s claims (or defenses, if

13
13                             any) are typical of all Class members as demonstrated herein.

14
14                   (c)       Adequacy: Plaintiff is qualified to, and will, fairly and adequately

15
15                             protect the interests of each class member with whom there is a shared,

16
16                             well-defined community of interest and typicality of claims, as

17
17                             demonstrated herein. Plaintiff acknowledges that Plaintiff has an

18
18                             obligation to make known to the Court any relationship, conflicts or

19
19                             differences with any class member. Plaintiff's attorneys, the proposed

20
20                             class counsel, are versed in the rules governing class action discovery,

21
21                             certification, and settlement.

22
22                   (d)       Superiority: The nature of this action makes the use of class action

23
23                             adjudication superior to other methods. Class action will achieve

24
24                             economies of time, effort, and expense as compared with separate

25
25                             lawsuits, and will avoid inconsistent outcomes because the same issues

26
26                             can be adjudicated in the same manner and at the same time for the

27
27                             entire class.

28
28

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 1                  (e)     Public Policy Considerations: Employers in the State of California

 2                          violate employment and labor laws every day. Current employees are

 3                          often afraid to assert their rights out of fear of direct or indirect

 4                          retaliation. Former employees are fearful of bringing actions because

 5                          they believe their former employers might damage their future

 6                          endeavors through negative references and/or other means. Class

 7                          actions provide the Class members who are not named in the complaint

 8                          with a type of anonymity that allows for the vindication of their rights at

 9                          the same time as their privacy is protected.

10
10           29.    There are common questions of law and fact as to the Class (and each subclass, if

11
11    any) that predominate over questions affecting only individual members, including but not

12
12    limited to:

13
13                  (a)     Whether Defendants engaged in a pattern or practice of failing to pay

14
14                          Plaintiff and the Class members for the total hours worked during the

15
15                          Class period

16
16                  (b)     Whether Defendants’ failure to pay wages, without abatement or

17
17                          reduction, in accordance with the California Labor Code, was willful

18
18                  (c)     Whether Defendants’ timekeeping system and policies failed to record all

19
19                          hours worked by Plaintiff and Class members

20
20                  (d)     Whether Defendants owe Plaintiffs and Class members overtime pay for

21
21                          work over eight hours per day, over 12 hours per day, and/or over forty

22
22                          40 hours per week

23
23                  (e)     Whether Defendants failed to record Plaintiff and Class members' meal

24
24                          periods

25
25                  (f)     Whether Defendants deprived Plaintiff and Class members of meal

26
26                          periods or required Plaintiff and Class members to work during meal

27
27                          periods without compensation

28
28

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 1                  (g)     Whether Defendants deprived Plaintiff and Class members of rest periods

 2                          or required Plaintiff and Class members to work during rest periods

 3                          without compensation

 4                  (h)     Whether Defendants’ conduct was willful or reckless

 5                  (i)     Whether Defendants violated Labor Code § 226 by failing to timely

 6                          furnish Plaintiff and Class members with accurate wage statements

 7                  (j)     Whether Defendants violated Labor Code §§ 218.5, 204, 1197, and 1198

 8                          by failing to compensate Plaintiff and Class members for those acts

 9                          Defendants required Plaintiff and Class members to perform for the

10
10                          benefit of Defendants

11
11                  (k)     Whether Defendants engaged in unfair business practices in violation of

12
12                          California Business & Professions Code § 17200, et seq.

13
13                  (l)     The appropriate amount of damages, restitution, or monetary penalties

14
14                          resulting from Defendants’ violations of California law

15
15                                    FIRST CAUSE OF ACTION

16
16          Violation of California Labor Code §§ 510, 1194 and 1198—Unpaid Overtime

17
17                             (Plaintiff and Class against all Defendants)

18
18           30.    Plaintiff incorporates all paragraphs above as though fully set forth herein.

19
19           31.    California Labor Code § 510 provides that employees in California shall not be

20
20    employed more than eight hours in any workday or 40 hours in a workweek unless they receive

21
21    additional compensation beyond their regular wages in amounts specified by law.

22
22           32.    California Labor Code §§ 1194 and 1198 provide that employees in California

23
23    shall not be employed more than eight hours in any workday unless they receive additional

24
24    compensation beyond their regular wages in amounts specified by law. Additionally California

25
25    Labor Code § 1198 states that the employment of an employee for longer hours than those fixed

26
26    by the Industrial Welfare Commission is unlawful. The governing Wage Order of the Industrial

27
27    Welfare Commission requires, among other things, payment of a premium wage rate for all

28
28    hours worked in excess of eight hours per day or 40 hours per week.

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 1           33.     During the course of Plaintiff and Class members’ employment, Defendants

 2    failed to compensate Plaintiff and Class members for all overtime hours worked in excess of

 3    eight hours per day and/or 40 hours per week as required by Labor Code §§ 510 and 1194.

 4           34.     At all times, Defendants failed to pay Plaintiff and Class members overtime

 5    compensation for the hours they have worked in excess of the maximum hours permissible by

 6    law as required by California Labor Code § 510 and 1198. Plaintiff and Class members were

 7    regularly required to work overtime hours without receiving overtime pay.

 8           35.     By virtue of Defendants’ unlawful failure to pay additional, premium rate

 9    compensation to Plaintiff and Class members for their overtime hours worked, Plaintiff and

10
10    Class members have suffered, and will continue to suffer, damages in amounts which are

11
11    presently unknown to them but which exceed the jurisdictional limits of this Court and which

12
12    will be ascertained according to proof at trial.

13
13           36.     Plaintiff and Class members request recovery of overtime compensation

14
14    according to proof, interest, attorney’s fees and costs pursuant to California Labor Code §

15
15    1194(a), as well as the assessment of any statutory penalties against Defendants, in a sum as

16
16    provided by the California Labor Code and/or other statutes.

17
17           37.     Further Plaintiff and Class members are entitled to seek and recover reasonable

18
18    attorneys’ fees and costs pursuant to California Labor Code § 1194.

19
19                                    SECOND CAUSE OF ACTION

20
20     Violation of California Labor Code §§ 226.7 and 512(a)—Unpaid Meal Period Premiums

21
21                              (Plaintiff and Class against all Defendants)

22
22           38.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

23
23           39.     The applicable IWC Wage Order and California Labor Code §§ 226.7 and

24
24    512(a) were applicable to Plaintiff’s employment by Defendants.

25
25           40.     California Labor Code § 226.7 provides that no employer shall require an

26
26    employee to work during any meal period mandated by an applicable order of the IWC.

27
27           41.     The applicable IWC Wage Order and California Labor Code § 512(a) provide

28
28    that an employer may not require, cause or permit an employee to work for a period of more

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 1    than five (5) hours per day without providing the employee with an uninterrupted meal period of

 2    not less than thirty (30) minutes, except that if the total work period per day of the employee is

 3    not more than six (6) hours, the meal period may be waived by mutual consent of both the

 4    employer and the employee.

 5           42.     Plaintiff was required to work for periods longer than five (5) hours without an

 6    uninterrupted meal period of not less than thirty (30) minutes. Plaintiff was not authorized or

 7    permitted lawful meal periods, and was not provided with one hour’s wages in lieu thereof in

 8    violation of, among others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders.

 9           43.     Defendants willfully required Plaintiff to work during meal periods and failed to

10
10    compensate Plaintiff for work performed during meal periods.

11
11           44.     Defendants failed to pay Plaintiff the full meal period premium due pursuant to

12
12    California Labor Code § 226.7.

13
13           45.     Defendants’ conduct violates the applicable IWC Wage Orders and California

14
14    Labor Code §§ 226.7 and 512(a).

15
15           46.     Pursuant to the applicable IWC Wage Order and California Labor Code §

16
16    226.7(b), Plaintiff is entitled to recover one additional hour of pay at the employee’s regular

17
17    hourly rate of compensation for each workday that the meal period was not provided.

18
18                                     THIRD CAUSE OF ACTION

19
19            Violation of California Labor Code § 226.7—Unpaid Rest Period Premiums

20
20                              (Plaintiff and Class against all Defendants)

21
21           47.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

22
22           48.     The applicable IWC Wage Order and California Labor Code § 226.7 were

23
23    applicable to Plaintiff’s employment by Defendants.

24
24           49.     California Labor Code § 226.7 provides that no employer shall require an

25
25    employee to work during any rest period mandated by an applicable order of the IWC.

26
26           50.     The applicable IWC Wage Order provides that “[e]very employer shall authorize

27
27    and permit all employees to take rest periods, which insofar as practicable shall be in the middle

28
28    of each work period” and that the “rest period time shall be based on the total hours worked

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 1    daily at the rate of ten (10) minutes net rest time per four (4) hours or major fraction thereof”

 2    unless the total daily work time is less than three and one-half (3½) hours.

 3           51.     Defendants required Plaintiff to work four (4) or more hours without authorizing

 4    or permitting a ten (10) minute rest period per each four (4) hour period worked.

 5           52.     Defendants willfully required Plaintiff to work during rest periods and failed to

 6    compensate Plaintiff for work performed during rest periods.

 7           53.     Defendants failed to pay Plaintiff the full rest period premium due pursuant to

 8    California Labor Code § 226.7. Defendants’ conduct violates the applicable IWC Wage Orders

 9    and California Labor Code § 226.7.

10
10           54.     Pursuant to the applicable IWC Wage Order and California Labor Code §

11
11    226.7(b), Plaintiff is entitled to recover one additional hour of pay at the employee’s regular

12
12    hourly rate of compensation for each workday that the rest period was not provided.

13
13                                    FOURTH CAUSE OF ACTION

14
14     Violation of California Labor Code §§ 1194, 1194.2, 1197 and Minimum Wage Order—

15
15                                    Failure to Pay Minimum Wages

16
16                              (Plaintiff and Class against all Defendants)

17
17           55.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

18
18           56.     California Labor Code § 1197 provides, “the minimum wage for employee fixed

19
19    by the commission is the minimum wage to be paid to employees, and the payment of a less

20
20    wage than minimum wage so fixed is unlawful.”

21
21           57.     Defendants paid Plaintiff and Class members less than minimum wages when it

22
22    required them to work during meal periods and rest breaks and donning and doffing “off the

23
23    clock;” and when it failed to pay them proper compensation for all hours worked, including time

24
24    worked during their missed and/or interrupted meal and/or rest periods and “off the clock.”

25
25           58.     Defendants have knowingly and willfully refused to compensate Plaintiff and

26
26    Class members for all wages earned, and all hours worked, at the required minimum wage. As a

27
27    direct result Plaintiff and Class members have suffered and continue to suffer, substantial losses

28
28    related to the use and enjoyment of such compensation and wages; lost interest on such monies

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 1    and expenses; and attorney’s fees in seeking to compel Defendants to fully perform their

 2    obligation under state law, all to their respective damage in amounts according to proof at trial

 3    and within the jurisdiction of this Court.

 4           59.     In relevant part, California Labor Code § 1194 et seq. provides that any

 5    employee receiving less than minimum wage applicable to the employee is entitled to recover in

 6    a civil action the unpaid balance of the amount of this minimum wage, including interest,

 7    reasonable attorney’s fees, and cost of suit, which Plaintiff and Class members seek.

 8           60.     Pursuant to California Labor Code § 1194.2, Plaintiff and Class members seek

 9    liquidated damages available to employees who file an action under Labor Code §1194.

10
10                                      FIFTH CAUSE OF ACTION

11
11                            Violation of California Labor Code § 226(a)—

12
12                      Failure to Furnish Timely and Accurate Wage Statements

13
13                              (Plaintiff and Class against all Defendants)

14
14           61.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

15
15           62.     At all material times set forth herein, California Labor Code § 226(a) provides

16
16    that every employer shall furnish each of his or her employees an accurate itemized wage

17
17    statement in writing showing nine pieces of information, including: (1) gross wages earned, (2)

18
18    total hours worked by the employee, (3) the number of piece-rate units earned and any

19
19    applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions, provided

20
20    that all deductions made on written orders of the employee may be aggregated and shown as one

21
21    item, (5) net wages earned, (6) the inclusive dates of the period for which the employee is paid,

22
22    (7) the name of the employee and the last four digits of his or her social security number or an

23
23    employee identification number other than a social security number, (8) the name and address of

24
24    the legal entity that is the employer, and (9) all applicable hourly rates in effect during the pay

25
25    period and the corresponding number of hours worked at each hourly rate by the employee.

26
26           63.     Defendants have intentionally and willfully failed to provide employees with

27
27    complete and accurate wage statements. The deficiencies include, among other things, the

28
28    failure to correctly identify the total hours worked and the gross wages earned by Plaintiff and

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 1    Class members; the overtime hours worked by Plaintiff and Class members; and the meal period

 2    and rest break premiums owing to Plaintiff and Class members.

 3           64.     As a result of Defendants’ violation of California Labor Code § 226(a), Plaintiff

 4    and Class members have suffered injury and damage to their statutorily protected rights.

 5           65.     Specifically Plaintiff and Class members have been injured by Defendants’

 6    intentional violation of California Labor Code § 226(a) because they were denied both their

 7    legal right to receive, and their protected interest in receiving, accurate, itemized wage

 8    statements under California Labor Code § 226(a).

 9           66.     Plaintiff was also injured as a result of having to bring this action to attempt to

10
10    obtain correct wage information following Defendants' refusal to comply with many of the

11
11    mandates of California’s Labor Code and related laws and regulations.

12
12           67.     Plaintiff and Class members are entitled to recover from Defendants the greater

13
13    of their actual damages caused by Defendants’ failure to comply with California Labor Code §

14
14    226(a), or an aggregate penalty not exceeding four thousand dollars per employee.

15
15           68.     Plaintiff and Class members are also entitled to injunctive relief to ensure

16
16    compliance with this section, pursuant to California Labor Code § 226(g).

17
17                                      SIXTH CAUSE OF ACTION

18
18                         Violation of California Labor Code §§ 201 and 202—

19
19                               Wages Not Timely Paid Upon Termination

20
20                               (Plaintiff and Class against all Defendants)

21
21           69.     Plaintiff incorporates all paragraphs above as though fully set forth herein

22
22           70.     At all times, California Labor Code §§ 201 and 202 provide that if an employer

23
23    discharges an employee, the wages earned and unpaid at the time of discharge are due and

24
24    payable immediately, and that if an employee voluntarily leaves his or her employment, his or

25
25    her wages shall become due and payable not later than 72 hours thereafter, unless the employee

26
26    has given 72 hours previous notice of his or her intention to quit, in which case the employee is

27
27    entitled to his or her wages at the time of quitting.

28
28           71.     During the relevant time period, Defendants willfully failed to pay Class

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 1    members who are no longer employed by Defendants their wages, earned and unpaid, either at

 2    the time of discharge, or within 72 hours of their leaving Defendants’ employ.

 3           72.     Class members' final paychecks did not include all wages owed to them.

 4           73.     Defendants’ failure to pay those Class members who are no longer employed by

 5    Defendants their wages earned and unpaid at the time of discharge is in violation of California

 6    Labor Code §§ 201 and 202.

 7           74.     California Labor Code § 203 provides that if an employer willfully fails to pay

 8    wages owed, in accordance with sections 201 and 202, then the wages of the employee shall

 9    continue as a penalty from the due date, and at the same rate until paid or until an action is

10
10    commenced; but the wages shall not continue for more than 30 days.

11
11           75.     Class members are entitled to recover from Defendants their additionally

12
12    accruing wages for each day they were not paid, at their regular hourly rate of pay, up to 30 days

13
13    maximum pursuant to California Labor Code § 203.

14
14                                   SEVENTH CAUSE OF ACTION

15
15                 Violation of California Business & Professions Code § 17200, et seq.

16
16                              (Plaintiff and Class against all Defendants)

17
17           76.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

18
18           77.     Defendants, and each of them, are “persons” as defined under Business &

19
19    Professions Code § 17021.

20
20           78.     Defendants’ conduct, as alleged herein, has been, and continues to be, unfair,

21
21    unlawful, and harmful to Plaintiff, Class members, and to the general public. Plaintiff seeks to

22
22    enforce important rights affecting the public interest within the meaning of Code of Civil

23
23    Procedure § 1021.5.

24
24           79.     Defendants’ activities, as alleged herein, are violations of California law, and

25
25    constitute unlawful business acts and practices in violation of California Business & Professions

26
26    Code § 17200, et seq.

27
27           80.     A violation of California Business & Professions Code § 17200, et seq. may be

28
28    predicated on the violation of any state or federal law. All of the acts described herein as

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 1    violations of, among other things, the California Labor Code and Industrial Welfare

 2    Commission Wage Orders, are unlawful and in violation of public policy; and in addition are

 3    immoral, unethical, oppressive, fraudulent and unscrupulous, and thereby constitute unfair,

 4    unlawful and/or fraudulent business practices in violation of California Business and

 5    Professions Code § 17200, et seq.

 6                                        Failing to Pay Overtime

 7           81.     Defendants’ failure to pay overtime compensation and other benefits in violation

 8    of California Labor Code §§ 510, 1197, and 1198 constitutes unlawful and/or unfair activity

 9    prohibited by Business and Professions Code § 17200, et seq.

10
10                              Failing to Provide Meal and Rest Periods

11
11           82.     Defendants’ failure to provide legally required meal and rest periods in violation

12
12    of California Labor Code, as alleged above, constitutes unlawful and/or unfair activity

13
13    prohibited by Business and Professions Code § 17200, et seq.

14
14                                         Failing to Pay Wages

15
15           83.     Defendants’ failure to pay minimum wages constitutes unlawful and/or unfair

16
16    activity prohibited by Business and Professions Code § 17200, et seq.

17
17                          Failing to Timely Pay Wages Upon Termination

18
18           84.     Defendants’ failure to timely pay wages upon termination in accordance with

19
19    Labor Code §§ 201 and 202, as alleged above, constitutes unlawful and/or unfair activity

20
20    prohibited by Business and Professions Code § 17200, et seq.

21
21                       Failing to Provide Accurate Itemized Wage Statements

22
22           85.     Defendants’ failure to provide accurate itemized wage statements in accordance

23
23    with California Labor Code § 226, as alleged above, constitutes unlawful and/or unfair activity

24
24    prohibited by Business and Professions Code § 17200, et seq.

25
25                                    Failing to Record Meal Periods

26
26           86.     Defendants’ failure to record meal periods in violation of California Labor Code

27
27    § 1198 and IWC Wage Order, as alleged above, constitutes unlawful and/or unfair activity

28
28    prohibited by Business and Professions Code § 17200, et seq.

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 1           87.     By and through their unfair, unlawful and/or fraudulent business practices

 2    described herein, Defendants have obtained valuable property, money and services from

 3    Plaintiff, and all persons similarly situated, and have deprived Plaintiff, and all persons similarly

 4    situated, of valuable rights and benefits guaranteed by law, all to their detriment.

 5           88.     Plaintiff and Class members suffered monetary injury as a direct result of

 6    Defendants’ wrongful conduct.

 7           89.     Plaintiff, individually, and on behalf of Class members, is entitled to, and does,

 8    seek such relief as may be necessary to disgorge the profits which the Defendants have

 9    acquired, or of which Plaintiff has been deprived, by means of the above-described unfair,

10
10    unlawful and/or fraudulent business practices. Plaintiff and Class members are not obligated to

11
11    establish individual knowledge of the unfair practices in order to recover restitution.

12
12           90.     Plaintiff, individually, and on behalf of Class members, is further entitled to and

13
13    do seek a declaration that the above-described business practices are unfair, unlawful and/or

14
14    fraudulent, and injunctive relief restraining the Defendants, and each of them, from engaging in

15
15    any of the above-described unfair, unlawful and/or fraudulent business practices in the future.

16
16           91.     Plaintiff, individually, and on behalf of Class members, has no plain, speedy,

17
17    and/or adequate remedy at law to redress the injuries that Plaintiff has suffered as a consequence

18
18    of Defendants’ unfair, unlawful and/or fraudulent business practices. As a result of the unfair,

19
19    unlawful and/or fraudulent business practices described above, Plaintiff, individually, and on

20
20    behalf of Class members, has suffered and will continue to suffer irreparable harm unless

21
21    Defendants, and each of them, are restrained from continuing to engage in said unfair, unlawful

22
22    and/or fraudulent business practices.

23
23           92.     Pursuant to California Business & Professions Code § 17200, et seq., Plaintiff

24
24    and Class members are entitled to restitution of the wages withheld and retained by Defendants

25
25    during a period that commences four years prior to the filing of this complaint; a permanent

26
26    injunction requiring Defendants to pay all outstanding wages due to Plaintiff and Class

27
27    members; an award of attorneys’ fees pursuant to California Code of Civil Procedure § 1021.5

28
28    and other applicable laws; and an award of costs.

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                                              CLASS ACTION COMPLAINT                     EXHIBIT 2
                                                                                          Page 20
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 1                                          PRAYER FOR RELIEF

 2             Plaintiff, individually, and on behalf of all others similarly situated, prays for relief and

 3    judgment against Defendants, jointly and severally, as follows:

 4                                              Class Certification

 5             1.      That this action be certified as a class action

 6             2.      That Plaintiff be appointed as the representatives of the Class, and

 7             3.     That counsel for Plaintiff be appointed as Class Counsel

 8                                        As to the First Cause of Action

 9             4.      That the Court declare, adjudge and decree that Defendants violated California

10
10    Labor Code §§ 510 and 1198 and applicable IWC Wage Orders by wilfully failing to pay all

11
11    overtime wages due to Plaintiff and Class members;

12
12             5.      For general unpaid wages at overtime wage rates and such general and special

13
13    damages as may be appropriate;

14
14             6.      For pre-judgment interest on any unpaid overtime compensation commencing

15
15    from the date such amounts were due;

16
16             7.      For reasonable attorneys’ fees and for costs of suit incurred herein pursuant to

17
17    California Labor Code § 1194(a); and,

18
18             8.      For such other and further relief as the Court may deem equitable and

19
19    appropriate.

20
20                                As to the Second and Third Causes of Action

21
21             9.      That the Court declare, adjudge and decree that Defendants violated California

22
22    Labor Code §§ 226.7 and 512 and applicable IWC Wage Orders by wilfully failing to provide

23
23    all meal periods and rest breaks to Plaintiff and Class members;

24
24             10.     That the Court make an award to the Plaintiff and Class members of one hour of

25
25    pay at each employee's regular rate of compensation for each workday that a meal period and

26
26    rest break were not provided;

27
27             11.     For all actual, consequential, and incidental losses and damages, according to

28
28    proof;

                                                      Page 16
                                              CLASS ACTION COMPLAINT                        EXHIBIT 2
                                                                                             Page 21
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 1             12.   For premiums pursuant to California Labor Code § 226.7(b);

 2             13.   For pre-judgment interest on any unpaid wages from the date such amounts were

 3    due; and,

 4             14.   For such other and further relief as the Court may deem equitable and

 5    appropriate.

 6                                    As to the Fourth Cause of Action

 7             15.   That the Court declare, adjudge and decree that Defendants violated California

 8    Labor Code §§ 1194 and 1197;

 9             16.   For general unpaid wages and such general and special damages as may be

10
10    appropriate;

11
11             17.   For pre-judgment interest on any unpaid compensation commencing from the

12
12    date such amounts were due;

13
13             18.   For liquidated damages;

14
14             19.   For reasonable attorneys’ fees and for costs of suit incurred; and

15
15             20.   For such other and further relief as the Court may deem equitable and

16
16    appropriate.

17
17                                     As to the Fifth Cause of Action

18
18             21.   That the Court declare, adjudge and decree that Defendants violated the record

19
19    keeping provisions of California Labor Code § 226(a) and applicable IWC Wage Orders as to

20
20    Plaintiff and Class members, and wilfully failed to provide accurate itemized wage statements;

21
21             22.   For all actual, consequential and incidental losses and damages, according to

22
22    proof;

23
23             23.   For statutory penalties pursuant to California Labor Code § 226(e);

24
24             24.   For injunctive relief to ensure compliance with this section, pursuant to

25
25    California Labor Code § 226(g); and,

26
26             25.   For such other and further relief as the Court may deem equitable and

27
27    appropriate.

28
28

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                                           CLASS ACTION COMPLAINT                         EXHIBIT 2
                                                                                           Page 22
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 1                                    As to the Sixth Cause of Action

 2             26.   That the Court declare, adjudge and decree that Defendants violated California

 3    Labor Code §§ 201, 202, and 203 by wilfully failing to pay all compensation owed at the time

 4    of termination of the employment of terminated Class members;

 5             27.   For all actual, consequential and incidental losses and damages, according to

 6    proof;

 7             28.   For statutory wage penalties pursuant to California Labor Code § 203 for all

 8    Class members who have left Defendants’ employ;

 9             29.   For pre-judgment interest on any unpaid wages from the date such amounts were

10
10    due; and,

11
11             30.   For such other and further relief as the Court may deem equitable and

12
12    appropriate.

13
13                                   As to the Seventh Cause of Action

14
14             31.   That the Court declare, adjudge and decree that Defendants violated California

15
15    Business and Professions Code §§ 17200, et seq. by failing to provide Plaintiff and Class

16
16    members all overtime compensation due to them; by failing to provide all meal and rest periods

17
17    and failing to pay for all missed meal and rest periods; by failing to pay minimum wages; by

18
18    failing to pay timely and earned wages upon termination; by failing to provide accurate itemized

19
19    wage statements; and by failing to record meal periods;

20
20             32.   For restitution of unpaid wages to Plaintiff and all Class members and

21
21    prejudgment interest from the day such amounts were due and payable;

22
22             33.   For the appointment of a receiver to receive, manage and distribute any and all

23
23    funds disgorged from Defendants and determined to have been wrongfully acquired by

24
24    Defendants as a result of violations of California Business & Professions Code §§ 17200 et seq.;

25
25             34.   For reasonable attorneys’ fees and costs of suit incurred herein pursuant to

26
26    California Code of Civil Procedure § 1021.5;

27
27             35.   For injunctive relief to ensure compliance with this section, pursuant to

28
28    California Business & Professions Code § 17200, et seq.; and,

                                                   Page 18
                                           CLASS ACTION COMPLAINT                      EXHIBIT 2
                                                                                        Page 23
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 1           36.     For such other and further relief as the Court may deem equitable and

 2    appropriate.

 3
 4
 5                                                Respectfully Submitted,

 6    Dated: September 13, 2023                   PARK APC
 7
 8
                                                          /s/ Sang (James) Park
 9                                                By:__________________________________
10
10                                                   Sang (James) Park

11
11                                                    Attorneys for Plaintiff

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                                          CLASS ACTION COMPLAINT                     EXHIBIT 2
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 1                                   DEMAND FOR JURY TRIAL

 2          Plaintiff hereby respectfully demands a jury trial.

 3
 4                                                Respectfully Submitted,

 5    Dated: September 13, 2023                   PARK APC
 6
 7
                                                          /s/ Sang (James) Park
 8                                                By:__________________________________
 9                                                   Sang (James) Park

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10                                                    Attorneys for Plaintiff

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                                          CLASS ACTION COMPLAINT                EXHIBIT 2
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          EXHIBIT 3
          Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 47 of 127 Page ID #:47
                                                                                        CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                   FOR COURT USE ONLY
- Sang (James) Park, SBN 232956
  PARKAPC
  8383 Wilshire Boulevard, Suite 800
  Beverly Hills, California 90211
                    310-627-2964
          TELEPHONE NO.:                      FAX NO.: 310-362-8279
                    Plaintiff Jose Valenzuela
 ATTORNEY FOR (Name):                                                                                          Electronically FILED by
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                                                                               Superior Court of California,
    STREET ADDRESS: 111 North Hill Street
                                                                                                               County of Los Angeles
                                                                                                               9/13/2023 1: 13 PM
       MAILING ADDRESS:                                                                                        David W, Slayton,
      CITY AND ZIP CODE:Los An~les 90012                                                                       Executive Officer/Clerk of Court,
           BRANCH NAME: Stanley osk Courthouse                                                                 By R. Lozano, Deputy Clerk
     CASE NAME:
     Jose Valenzuela v. Everi Games Inc.
                                                                                                           CASE NUMBER:
       CIVIL CASE COVER SHEET                                     Complex Case Designation
[Z] Unlimited              Limited D                         D
                                                       Counter                   D
                                                                           Joinder
                                                                                           2 3ST C:V 2                                             2 08 4
          (Amount          (Amount
                                                                                         JUDGE:
          demanded         demanded is          Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)         (Cal. Rules of Court, rule 3.402)     DEPT:

                              Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                  Provisionally Complex Civil Litigation
      D      Auto (22)                             D                                     (Cal. Rules of Court, rules 3.400–3.403)
                                                                Breach of contract/warranty (06)
      D      Uninsured motorist (46)               D Rule 3.740 collections (09)         D Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property      D Other collections (09)              D Construction defect (10)
     Damage/Wrongful Death) Tort                   D Insurance coverage (18)             D Mass tort (40)
     D Asbestos (04)                               D      Other contract (37)            D Securities litigation (28)
     D Product liability (24)                      Real Property                         D Environmental/Toxic tort (30)
     D Medical malpractice (45)                    D Eminent      domain/Inverse         D Insurance       coverage claims arising from the
     D Other PI/PD/WD (23)                               condemnation (14)                      above listed provisionally complex case
                                                                                                types (41)
     Non-PI/PD/WD (Other) Tort                     D Wrongful eviction (33)
     D Business tort/unfair business practice (07) D Other real property (26)            Enforcement of Judgment
     D Civil rights (08)                           Unlawful Detainer                     D Enforcement of judgment (20)
     D Defamation (13)                             D     Commercial   (31)               Miscellaneous Civil Complaint
     D Fraud (16)                                  D Residential (32)                    D RICO (27)
     D Intellectual property (19)                  D Drugs (38)                          D Other complaint (not specified above) (42)
     D Professional negligence (25)                Judicial Review                       Miscellaneous Civil Petition
     D Other non-PI/PD/WD tort (35)                D Asset forfeiture (05)               D Partnership and corporate governance (21)
     Employment                                    D Petition re: arbitration award (11) D Other petition (not specified above) (43)
     D Wrongful termination (36)                   D Writ of mandate (02)
     [Z] Other employment (15)                     D Other judicial review (39)
2. This case LLJ is         LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.     D Large number of separately represented parties     d. [Z] Large number of witnesses
   b. [Z] Extensive motion practice raising difficult or novel e.              D
                                                                      Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
   c. [Z] Substantial amount of documentary evidence           f.              D
                                                                      Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a.       monetary b. [Z] nonmonetary; declaratory or injunctive relief                             c.   D punitive
4.    Number of causes of action (specify): 7
5.    This case [Z] is                 D
                                   is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: September 13, 2023
Sang (James) Park, SBN 232956                                                         ►             S~/JCZAh
                                   (TYPE OR PRINT NAME)                                            (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.                        Page 1 of 2
                                                                                                               Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Form Adopted for Mandatory Use
                                                          CIVIL CASE COVER SHEET
                                                                                                     EXHIBIT 3
  Judicial Council of California                                                                                       Cal. Standards of Judicial Administration, std. 3.10
   CM-010 [Rev. July 1, 2007]                                                                                                                        www.courtinfo.ca.gov
                                                                                                      Page 26
         Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 48 of 127 Page ID #:48
                                                                                                                                      CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                         Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)               above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                            Claim
Employment                                                   Review                                         Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
                                                                                                             EXHIBIT 3
                                                                                                              Page 27
                  Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 49 of 127 Page ID #:49
SHORT TITLE:                                                                                                CASE NUMBER
                     Jose Valenzuela v. Everi Games Inc.                                                             2 3ST C:V 2 2 08 4

                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                            STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                  This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.

 Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
       JURY TRIAL?          YES         CLASS ACTION?      ✓YES LIMITED CASE? YES TIME ESTIMATED FOR TRIAL 15-20                               HOURS/ ✓ DAYS

 Item II. Indicate the correct district and courthouse location (4 steps                          If you checked "Limited Case", skip to Item III, Pg. 4):


      Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
      case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.


       Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

      Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
      checked. For any exception to the court location, see Local Rule 2.3.

                                  Applicable Reasons for Choosing Courthouse Location (see Column C below)

            1. Class actions must be filed in the Stanley Mosk Courthouse, central district.       6. Location of property or permanently garaged vehicle.
            2. May be filed in central (other county, or no bodily injury/property damage).        7. Location where petitioner resides.
            3. Location where cause of action arose.                                               8. Location wherein defendant/respondent functions wholly.
            4. Location where bodily injury, death or damage occurred.                             9. Location where one or more of the parties reside.
            5. Location where performance required or defendant resides.                          10. Location of Labor Commissioner Office
                                                                                                  11. Mandatory Filing Location (Hub Case)

       Step 4: Fill in the information requested on page 4 in Item III; complete Item IV. Sign the declaration.

                                    A                                                            B                                                C Applicable
                         Civil Case Cover Sheet                                           Type of Action                                       Reasons - See Step 3
                               Category No.                                              (Check only one)                                            Above

                                Auto (22)              □   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1., 2., 4.
    0 t::
   -;; 0
   <( I-                 Uninsured Motorist (46)       □   A7110 Personal Injury/Property Damage/Wrongful Death       - Uninsured Motorist     1., 2., 4.


                                                       □   A6070 Asbestos Property Damage                                                      2.
                             Asbestos (04)
                                                       □   A7221 Asbestos - Personal Injury/Wrongful Death                                     2.
  ~
  Cl)
      t::
       0
      c.. l-              Product Liability (24)       □   A7260 Product Liability (not asbestos or toxic/environmental)                       1., 2., 3., 4., 8.
   e;
  ll. 111
  -
   ~c                                                      A7210 Medical Malpractice - Physicians & Surgeons                                   1., 4.
             -
      Cl)
                                                       □
      ::,               Medical Malpractice (45)
  ·c -2                                                □   A7240 Other Professional Health Care Malpractice                                    1., 4.
  -           Cl
  CU          C
      Ce
      ~~                    Other Personal
                                                       □   A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                               1., 4.
  t.... Cl
        111                 Injury Property            □   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                               1., 4.
      Cl)     E            Damage Wrongful                       assault, vandalism, etc.)
  .c 111
  50                          Death (23)                                                                                                       1., 3.
                                                       □   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                               1., 4.
                                                       □   A7220 Other Personal Injury/Property Damage/Wrongful Death




 LACIV 109 (Rev 3/15)                                CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3
 LASC Approved 03-04                                    AND STATEMENT OF LOCATION                                             EXHIBIT 3Page 1 of 4
                                                                                                                               Page 28
                              Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 50 of 127 Page ID #:50
SHORT TITLE:                                                                                                        CASE NUMBER
                                  Jose Valenzuela v. Everi Games Inc.

                                                A                                                          B                                               C Applicable
                                      Civil Case Cover Sheet                                          Type of Action                                    Reasons - See Step 3
                                            Category No.                                             (Check only one)                                         Above

                                        Business Tort (07)         □   A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1., 3.
  Non-Personal Injury/ Property
  Damage/ Wrongful Death Tort




                                         Civil Rights (08)         □   A6005 Civil Rights/Discrimination                                                1., 2., 3.

                                         Defamation (13)           □   A6010 Defamation (slander/libel)                                                 1., 2., 3.

                                            Fraud (16)             □   A6013 Fraud (no contract)                                                        1., 2., 3.

                                                                   □   A6017 Legal Malpractice                                                          1., 2., 3.
                                   Professional Negligence (25)
                                                                   □   A6050 Other Professional Malpractice (not medical or legal)                      1., 2., 3.

                                            Other (35)             □   A6025 Other Non-Personal Injury/Property Damage tort                             2.,3.

                                    Wrongful Termination (36)      □   A6037 Wrongful Termination                                                       1., 2., 3.
         Employment




                                                                   !;ii A6024 Other Employment Complaint Case                                           1., 2., 3.
                                      Other Employment (15)
                                                                   □   A6109 Labor Commissioner Appeals                                                 10.

                                                                   □   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                        2., 5.
                                                                             eviction)
                                   Breach of Contract/ Warranty                                                                                         2., 5.
                                               (06)                □   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                         (not insurance)                                                                                                1., 2., 5.
                                                                   □   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                        1., 2., 5.
                                                                   □   A6028 Other Breach of Contract/Warranty (not fraud or negligence)
         Contract




                                                                   □   A6002 Collections Case-Seller Plaintiff                                          2., 5., 6, 11
                                         Collections (09)
                                                                   □   A6012 Other Promissory Note/Collections Case                                     2., 5, 11
                                                                   □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                             Purchased on or after January 1, 2014)

                                     Insurance Coverage (18)       □   A6015 Insurance Coverage (not complex)                                           1., 2., 5., 8.

                                                                   □   A6009 Contractual Fraud                                                          1., 2., 3., 5.
                                       Other Contract (37)         □   A6031 Tortious Interference                                                      1., 2., 3., 5.
                                                                   □   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1., 2., 3., 8.

                                     Eminent Domain/Inverse
                                                                   □   A7300 Eminent Domain/Condemnation                Number of parcels- -            2.
         Real Property




                                       Condemnation (14)

                                      Wrongful Eviction (33)       □   A6023 Wrongful Eviction Case                                                     2., 6.

                                                                   □   A6018 Mortgage Foreclosure                                                       2., 6.
                                     Other Real Property (26)      □   A6032 Quiet Title                                                                2., 6.
                                                                   □   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2., 6.

                                   Unlawful Detainer-Commercial
         Unlawful Detainer




                                                                   □   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              2., 6.
                                               (31)

                                   Unlawful Detainer-Residential
                                                                   □   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             2., 6.
                                               (32)
                                       Unlawful Detainer-
                                                                   □   A6020F Unlawful Detainer-Post-Foreclosure                                        2., 6.
                                      Post-Foreclosure (34)

                                   Unlawful Detainer-Drugs (38)    □   A6022 Unlawful Detainer-Drugs                                                    2., 6.



 LACIV 109 (Rev 3/15)                                              CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
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SHORT TITLE:                                                                                                                  CASE NUMBER
                                          Jose Valenzuela v. Everi Games Inc.

                                                          A                                                          B                                         C Applicable
                                               Civil Case Cover Sheet                                          Type of Action                               Reasons - See Step 3
                                                     Category No.                                             (Check only one)                                    Above

                                                Asset Forfeiture (05)        □   A6108 Asset Forfeiture Case                                                2., 6.

                                             Petition re Arbitration (11)    □   A6115 Petition to Compel/Confirm/Vacate Arbitration                        2., 5.
      Judicial Review




                                                                             □   A6151 Writ - Administrative Mandamus                                       2., 8.
                                                Writ of Mandate (02)         □   A6152 Writ - Mandamus on Limited Court Case Matter                         2.
                                                                             □   A6153 Writ - Other Limited Court Case Review                               2.

                                             Other Judicial Review (39)      □   A6150 Other Writ /Judicial Review                                          2., 8.

                                           Antitrust/Trade Regulation (03)   □   A6003 Antitrust/Trade Regulation                                           1., 2., 8.
      Provisionally Complex Litigation




                                              Construction Defect (10)       □   A6007 Construction Defect                                                  1., 2., 3.

                                             Claims Involving Mass Tort
                                                                             □   A6006 Claims Involving Mass Tort                                           1., 2., 8.
                                                        (40)

                                              Securities Litigation (28)     □   A6035 Securities Litigation Case                                           1., 2., 8.

                                                     Toxic Tort
                                                                             □   A6036 Toxic Tort/Environmental                                             1., 2., 3., 8.
                                                 Environmental (30)

                                            Insurance Coverage Claims
                                                                             □   A6014 Insurance Coverage/Subrogation (complex case only)                   1., 2., 5., 8.
                                              from Complex Case (41)

                                                                             □   A6141 Sister State Judgment                                                2., 9.
                                                                             □   A6160 Abstract of Judgment                                                 2., 6.
  Enforcement
  of Judgment




                                                    Enforcement              □   A6107 Confession of Judgment (non-domestic relations)                      2., 9.
                                                  of Judgment (20)           □   A6140 Administrative Agency Award (not unpaid taxes)                       2., 8.
                                                                             □   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax             2., 8.
                                                                             □   A6112 Other Enforcement of Judgment Case                                   2., 8., 9.

                                                     RICO (27)               □   A6033 Racketeering (RICO) Case                                             1., 2., 8.
  Civil Complaints
   Miscellaneous




                                                                             □   A6030 Declaratory Relief Only                                              1., 2., 8.

                                                 Other Complaints            □   A6040 Injunctive Relief Only (not domestic/harassment)                     2., 8.
                                             (Not Specified Above) (42)      □   A6011 Other Commercial Complaint Case (non-tort/non-complex)               1., 2., 8.
                                                                             □   A6000 Other Civil Complaint (non-tort/non-complex)                         1., 2., 8.

                                              Partnership Corporation
                                                                             □   A6113 Partnership and Corporate Governance Case                            2., 8.
                                                 Governance (21)

                                                                             □   A6121 Civil Harassment                                                     2., 3., 9.
  Miscellaneous
  Civil Petitions




                                                                             □   A6123 Workplace Harassment                                                 2., 3., 9.
                                                                             □   A6124 Elder/Dependent Adult Abuse Case                                     2., 3., 9.
                                                Other Petitions (Not
                                               Specified Above) (43)         □   A6190 Election Contest                                                     2.
                                                                             □   A6110 Petition for Change of Name                                          2., 7.
                                                                             □   A6170 Petition for Relief from Late Claim Law                              2., 3., 4., 8.
                                                                             □   A6100 Other Civil Petition                                                 2., 9.




 LACIV 109 (Rev 3/15)                                                        CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
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SHORT TITLE:                                                                                    CASE NUMBER
               Jose Valenzuela v. Everi Games Inc.


 Item III. Statement of Location: Enter the address of the accident, party' s residence or place of business, performance, or other
 circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

                                                                        ADDRESS:
  REASON: Check the appropriate boxes for the numbers shown             111 North Hill Street
  under Column C for the type of action that you have selected for
  this case.

 [;Zl 1. □ 2. □ 3. □ 4. □ 5. □ 6. □ 7. □ 8. □   9. □ 10. □ 11.

  CITY:                                         STATE:      ZIP CODE:

  Los Angeles                                   CA          90012


 Item IV. Declaration of Assignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is true
 and correct and that the above-entitled matter is properly filed for assignment to the Stanley Mask                        courthouse in the
 Central                     District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
 Rule 2.3, subd.(a).




 Dated: September 13, 2023
                                                                                          (SIGNATURE OF ATTORNEY/FILING PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

      1. Original Complaint or Petition.
      2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         03/15).
      5. Payment in full of the filing fee, unless fees have been waived.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 3/15)                           CIVIL CASE COVER SHEET ADDENDUM                                             Local Rule 2.3
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          EXHIBIT 4
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                                                                                                    Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                               FILED      1


 Spring Street Courthouse                                                                           s periot Court of Califania
                                                                                                      Qi ntyof UJsA.ngali!s
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                          09/113/202 3
                   NOTICE OF CASE ASSIGNMENT                                                ·mw.s )b'l.,E~         be a = la            olCaull
                                                                                                              R. Lozano               Oept!y
                                                                                              'f.
                          UNLIMITED CIVIL CASE

                                                                                   CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 23STCV22084

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE                         DEPT             ROOM
   ✔     William F. Highberger              10
                                                                  11




    Given to the Plaintiff/Cross-Complainant/Attorney of Record    David W. Slayton, Executive Officer / Clerk of Court
       09/13/2023
    on _____________________________                                          R. Lozano
                                                                           By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE EXHIBIT 4
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




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                                 VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                    The Early Organizational Meeting Stipulation, Discovery
                                 Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                                 voluntary stipulations entered into by the parties. The parties
                                 may enter into one, two, or all three of the stipulations;
                                 however, they may not alter the stipulations as written,
  LACBA                          because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                  These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                 between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section           manner that promotes economic case resolution and judicial
                                 efficiency.
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             ol Io, AnyclH
                                    The    following   organizations    endorse    the   goal    of
Consumer Attorneys
Association of Los Angeles       promoting efficiency in litigation and ask that counsel
                                 consider using these stipulations as a voluntary way to
                                 promote communications and procedures among counsel
                                 and with the court to fairly resolve issues in their cases.

                                 Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                            Los Angeles County Bar Association
                                               Labor and Employment Law Section

Association of
Business Trial Lawyers               Consumer Attorneys Association of Los Angeles


                                          Southern California Defense Counsel


                                          Association of Business Trial Lawyers

California Employment
Lawyers Association
                                      California Employment Lawyers Association


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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
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               discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under “Civil” and then under “General Information”).

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
               click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


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                             STIPULATION – EARLY ORGANIZATIONAL MEETING
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                             EXHIBIT 5Page 1 of 3
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               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
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SHORT TITLE:                                                      CASE NUMBER:




The following parties stipulate:

Date:
                                                 
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:
                                                 
               (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                 
               (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                 
               (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                 
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                 
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                 
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




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LACIV 036 (new)
LASC Approved 04/11           STIPULATION – DISCOVERY RESOLUTION
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                    Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                   CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
            □       Request for Informal Discovery Conference
            □       Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________ (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________ (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
                                                                                                            EXHIBIT 5
             Print                      Save
                                                                                                             Page 40Clear
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                             EXHIBIT 5Page 1 of 2
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SHORT TITLE:                                                   CASE NUMBER:




The following parties stipulate:

Date:
                                                
               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




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LACIV 075 (new)
                         STIPULATION AND ORDER – MOTIONS IN LIMINE
LASC Approved 04/11                                                           EXHIBIT 5Page 2 of 2
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          EXHIBIT 6
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                                                                                                   2019-GEN-O14-00

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1                                                                              County of Los Angeles

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 5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
 7
 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     - MANDATORY ELECTRONIC FILING )
 9   FOR CIVIL                        )
                                                    )
10                                                  )
11   ___________                                    )

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:
18   1) DEFINITIONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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1       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2          person or entity that receives an electronic filing from a party for retransmission to the Court.
3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5       f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7          (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9         process attached to or logically associated with an electronic record and executed or adopted
10         by a person with the intent to sign the electronic record.
11      g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12         in a hypertext or hypermedia document to another in the same or different document.
13      h) "Portable Document Format" A digital document format that preserves all fonts,
14         formatting, colors and graphics of the original source document, regardless of the application
15         platform used.
16   2) MANDATORY ELECTRONIC FILING
17      a) Trial Court Records
18         Pursuant to Government Code section 68150, trial court records may be created, maintained,
19         and preserved in electronic format. Any document that the Court receives electronically must
20         be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21         official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22      b) Represented Litigants
23         Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24         electronically file documents with the Court through an approved EFSP.
25      c) Public Notice
26         The Court has issued a Public Notice with effective dates the Court required parties to
27         electronically file documents through one or more approved EFSPs. Public Notices containing
28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

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                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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1         d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5    3) EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7            from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16           ii)    Bonds/Undertaking documents;
17           iii)   Trial and Evidentiary Hearing Exhibits
18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mask courthouse; and
20           v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and /or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   //
28   //

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL EXHIBIT 6
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1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2       Electronic filing service providers must obtain and manage registration information for persons
3       and entities electronically filing with the court.
4    6) TECHNICAL REQUIREMENTS
5       a) Electronic documents must be electronically filed in PDF, text searchable format when
6           technologically feasible without impairment of the document's image.
7       b) The table of contents for any filing must be bookmarked.
8       c) Electronic documents, including but not limited to, declarations, proofs of service, and
9           exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10          3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12          bookedmarked item and briefly describe the item.
13      d) Attachments to primary documents must be bookmarked. Examples include, but are not
14          limited to, the following:
15          i)     Depositions;
16          ii)    Declarations;
17          iii)   Exhibits (including exhibits to declarations);
18          iv)    Transcripts (including excerpts within transcripts);
19          v)     Points and Authorities;
20          vi)    Citations; and
21          vii) Supporting Briefs.
22      e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23          encouraged.
24      f) Accompanying Documents
25          Each document acompanying a single pleading must be electronically filed as a separate
26          digital PDF document.
27      g) Multiple Documents
28          Multiple documents relating to one case can be uploaded in one envelope transaction.

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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1       h) Writs and Abstracts
2          Writs and Abstracts must be submitted as a separate electronic envelope.
3       i) Sealed Documents
4          If and when a judicial officer orders documents to be filed under seal, those documents must be
5          filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6          the documents as sealed at the time of electronic submission is the submitting party's
7          responsibility.
8       j) Redaction
 9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10         redact confidential information (such as using initials for names of minors, using the last four
11         digits of a social security number, and using the year for date of birth) so that the information
12         shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14      a) Filed Date
15         i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16             shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17             document received electronically on a non-court day, is deemed to have been effectively
18             filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19             Civ. Proc. § 1010.6(b)(3).)
20         ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21             course because of: (1) an interruption in service; (2) a transmission error that is not the
22             fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23             order, either on its own motion or by noticed motion submitted with a declaration for Court
24             consideration, that the document be deemed filed and/or that the document's filing date
25             conform to the attempted transmission date.
26    8) EX PARTE APPLICATIONS
27      a) Ex parte applications and all documents in support thereof must be electronically filed no later
28         than 10:00 a.m. the court day before· the ex parte hearing.

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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1       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2          day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3          application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5       a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6          be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7          the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8          by 10:00 a.m. the next business day.
9       b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10         electronic submission) is required for the following documents:
11          i)   Any printed document required pursuant to a Standing or General Order;
12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13               pages or more;
14        iii)   Pleadings and motions that include points and authorities;
15         iv)   Demurrers;
16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17         vi)   Motions for Summary Judgment/Adjudication; and
18        vii)   Motions to Compel Further Discovery.
19      c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20         additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22    0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23      a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25          1010.6(d)(2).)
26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28          electronically filed in any authorized action or proceeding.

                                                       6
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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1    1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5

6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
9                                         ,,._,,,
                                         ORNl '•,,
10   DATED: May 3, 2019
11                                                   Cl
                                                     ~
                                                     ~    Presiding Judge
12                                                   ~
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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVILEXHIBIT 6
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          EXHIBIT 7
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 5                                                                    BY NANbV~AVAARO, DEPUTY

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 7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                            FOR THE COUNTY OF LOS ANGELES
 9
      General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
      Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11    Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                 )         TO EARLY ORGANIZATIONAL
12                                               )         MEETING STIPULATION
13

14
             Whereas the Los Angeles Superior Court and the Executive Committee of the
15
      Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
      drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18    use in general jurisdiction civil litigation in Los Angeles County;

19           Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
      Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
      Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23    Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24    Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
      litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
      promote communications and procedures among counsel and with the court to fairly
27
      resolve issues in their cases;"
28

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                                 0RDER PURSUANT TO CCP 1054(a)                            EXHIBIT 7
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             Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2    cooperation among the parties at an early stage in litigation in order to achieve

 3    litigation efficiencies;
 4
             Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
      will promote economic case resolution and judicial efficiency;
 6

 7
             Whereas, in order to promote a meaningful discussion of pleading issues at the

 8    Early Organizational Meeting and potentially to reduce the need for motions to

 9    challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
      Organizational Meeting before the time to respond to a complaint or cross complaint
II
      has expired;
12

13           Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14    which an action is pending to extend for not more than 30 days the time to respond to
15
      a pleading "upon good cause shown";
16
             Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
      days the time to respond to a complaint or to a cross complaint in any action in which
18

19    the parties have entered into the Early Organizational Meeting Stipulation. This finding

20    of good cause is based on the anticipated judicial efficiency and benefits of economic
21
      case resolution that the Early Organizational Meeting Stipulation is intended to
22
      promote .
23
             IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25    into an Early Organizational Meeting Stipulation, the time for a defending party to

26    respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

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                                 0RDER PURSUANT TO CCP 1054(a)                       EXHIBIT 7
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J


          by Code of Civil Procedure section 1054(a) without further need of a specific court

     2    order.




                                                   Carolyn B. Kuh Supervising Judge of the
                                                   Civil Departments, Los Angeles Superior Court
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                                   ORDER PURSUANT TO CCP 1054(a)
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    t~                             \
    ii~                            }       Superior Court of California, County of Los Angeles
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                                               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                                      INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                                   Mediation may be appropriate when the parties
                                     • want to work out a solution but need help from a neutral person.
                                     • have communication problems or strong emotions that interfere with resolution.

                                   Mediation may not be appropriate when the parties
                                     • want a public trial and want a judge or jury to decide the outcome.
                                     • lack equal bargaining power or have a history of physical/emotional abuse.




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For Mandatory Use

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                           How to Arrange Mediation in Los Angeles County

 Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

     a. The Civil Mediation Vendor Resource List
        If all parties in an active civil case agree to mediation, they may contact these organizations to
        request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
        cases).

         •   ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
             (213) 683-1600
         •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
             (833) 476-9145

         These organizations cannot accept every case and they may decline cases at their discretion.
         They may offer online mediation by video conference for cases they accept. Before contacting
         these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

         NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
         or small claims cases.

     b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
        mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
        harassment, and limited civil (collections and non-collection) cases.
        https://dcba.lacounty.gov/countywidedrp/

         Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
         should carefully review the Notice and other information they may receive about (ODR)
         requirements for their case. https://my.lacourt.org/odr/

     c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

 3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
    arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
    decision is final; there is no right to trial. In “nonbinding” arbitration, any party can request a trial
    after the arbitrator’s decision. For more information about arbitration, visit
    https://www.courts.ca.gov/programs-adr.htm

 4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
    to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
    settlement officer who does not make a decision but who instead assists the parties in evaluating
    the strengths and weaknesses of the case and in negotiating a settlement. For information about
    the Court’s MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CI0047.aspx

 Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
 For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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          EXHIBIT 9
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                                                                                      Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                               FILED
                                                                                      S ,petior Court of California
Spring Street Courthouse                                                                Courily of LOs Angeles
312 North Spring Street, Los Angeles, CA 90012                                               09/2712023
PLAINTIFF/PETITIONER:                                                           mf'tV. S •)'b'I, Emou'-" Olt""" I ct<ri. a l Co,Jr1
                                                                                By.              IR. Aspifas           Oeputy
Jose Valenzuela
DEFENDANT/RESPONDENT:
Everi Games Inc.
                                                                             CASE NUMBER:
                        CERTIFICATE OF MAILING                               23STCV22084

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Re: Initial Status
Conference Order) of 09/27/2023, Initial Status Conference Order upon each party or counsel named below
by placing the document for collection and mailing so as to cause it to be deposited in the United States
mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate
sealed envelope to each address as shown below with the postage thereon fully prepaid, in accordance
with standard court practices.




    Sang James Park
    Park APC
    8383 Wilshire Boulevard
    Suite 800
    Beverly Hills, CA 90211




                                                      David W. Slayton, Executive Officer / Clerk of Court
Dated: 09/28/2023                                     By:   R. Aspiras
                                                            Deputy Clerk



                                                                                                       EXHIBIT 9
                                      CERTIFICATE OF MAILING                                            Page 55
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          EXHIBIT 10
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 23STCV22084                                                                    September 27, 2023
 JOSE VALENZUELA vs EVERI GAMES INC.                                                      3:27 PM


 Judge: Honorable William F. Highberger             CSR: None
 Judicial Assistant: Judicial Assistant: R.         ERM: None
 Aspiras
 R. Aspiras
 Courtroom Assistant: R. Sanchez                    Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): No Appearances
 For Defendant(s): No Appearances




 NATURE OF PROCEEDINGS: Court Order Re: Initial Status Conference Order

 By this order, the Court determines this case to be Complex according to Rule 3.400 of the
 California Rules of Court. The Clerk’s Office has assigned this case to this department for all
 purposes.

 Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
 thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
 fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
 or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
 dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
 All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
 service of this order.

 By this order, the Court stays the case, except for service of the Summons and Complaint. The
 stay continues at least until the Initial Status Conference. Initial Status Conference is set for
 01/17/2024 at 02:30 PM in this department. At least ten (10) days prior to the Initial Status
 Conference, counsel for all parties must discuss the issues set forth in the Initial Status
 Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
 Statement five (5) court days before the Initial Status Conference.

 The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
 Court and the parties manage this complex case by developing an orderly schedule for briefing,
 discovery, and court hearings. The parties are informally encouraged to exchange documents and
 information as may be useful for case evaluation.

 Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
                                              Minute Order                               Page 1 of 3
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 23STCV22084                                                                      September 27, 2023
 JOSE VALENZUELA vs EVERI GAMES INC.                                                        3:27 PM


 Judge: Honorable William F. Highberger              CSR: None
 Judicial Assistant: Judicial Assistant: R.          ERM: None
 Aspiras
 R. Aspiras
 Courtroom Assistant: R. Sanchez                     Deputy Sheriff: None

 of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
 Appearance shall not constitute a waiver of any substantive or procedural challenge to the
 Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
 Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
 Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
 Private Attorney General Act (“PAGA”) claim.

 For information on electronic filing in the Complex Courts, please refer to
 https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
 “Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
 First Amended General Order of May 3, 2019, particularly including the provisions therein
 requiring Bookmarking with links to primary documents and citations; that Order is available on
 the Court’s website at the link shown above.

 For efficiency in communication with counsel, the complex program requires the parties in every
 new case to use an approved third-party cloud service that provides an electronic message board.
 In order to facilitate communication with counsel prior to the Initial Status Conference, the
 parties must sign-up with the e-service provider at least ten (10) court days in advance of the
 Initial Status Conference and advise the Court which provider was selected.

 The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
 parties to make audio or video appearances in Los Angeles County courtrooms.
 LACourtConnect technology provides a secure, safe and convenient way to attend hearings
 remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
 services and access to justice, LACourtConnect is intended to enhance social distancing and
 change the traditional in-person courtroom appearance model. See
 https://my.lacourt.org/laccwelcome for more information.

 This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
 portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
 Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
 is 01 and Dept. 10 is 10.

 Court reporters are not provided for hearings or trials. The parties should make their own
 arrangements for any hearing where a transcript is desired.

                                              Minute Order                                 Page 2 of 3
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                     Central District, Spring Street Courthouse, Department 10

 23STCV22084                                                                    September 27, 2023
 JOSE VALENZUELA vs EVERI GAMES INC.                                                      3:27 PM


 Judge: Honorable William F. Highberger             CSR: None
 Judicial Assistant: Judicial Assistant: R.         ERM: None
 Aspiras
 R. Aspiras
 Courtroom Assistant: R. Sanchez                    Deputy Sheriff: None

 If you believe a party or witness will need an interpreter, see the court’s website for information
 on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

 Counsel are directed to access the following link for further information on procedures in the
 Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

 The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
 Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
 of service.

 Certificate of Mailing is attached.




                                              Minute Order                               Page 3 of 3
                                                                                       EXHIBIT 10
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          EXHIBIT 11
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 2                                                                                      R.A.sp· ·· s

 3

 4                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

 5                                FOR THE COUNTY OF LOS ANGELES

 6

 7
                                                      )       Case No. 23STCV22084
 8    JOSE VALENZUELA                                 )
                                                      )       INITIAL STATUS CONFERENCE ORDER
 9                                Plaintiff,          )       (COMPLEX CLASS ACTIONS)
                                                      )
10           v.                                       )       Case Assigned for All Purposes to
                                                      )       Judge William F. Highberger
11                                                    )
      EVERI GAMES INC.
                                                      )       Department: SS10
12                                                    )       Date: 1/17/2024
                                  Defendant.          )       Time: 2:30 PM
13                                                    )
                                                      )
14                                                    )
15

16

17           This Initial Status Conference Order (Complex Class Actions) supplements a Minute
18    Order served concurrently herewith. That Minute Order sets a date and time for the Initial
19    Status Conference and includes many other important provisions which are NOT repeated in this
20    Order. Counsel must review that Minute Order carefully to be fully informed of your
21    obligations and the unique processes used in the Los Angeles Superior Court Complex
22    Courtrooms.
23
             Note: Some provisions of this Order are in reference to wage-and-hour class actions and
24
      may not be applicable to other types of class actions. Insofar as they are irrelevant to your case,
25
      say so in your Joint Initial Status Conference Response Statement.
26
             Pending further order, the following is ordered:
27

28
                                                          1
                                                                                             EXHIBIT 11
                                                                                               Page 59
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             The court orders counsel to prepare for the Initial Status Conference (“ISC”) by identifying and
 1

 2    discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to initiate

 3    contact with counsel for defense to begin this process. Counsel then must negotiate and agree, as much

 4    as possible, on a case management plan. To this end, counsel must file a Joint Initial Status Conference
 5
      Response Statement five (5) court days before the Initial Status Conference. The Joint Response
 6
      Statement must be filed on line-numbered pleading paper and must specifically answer each of the
 7
      below-numbered questions. Do not use the Judicial Council Form CM-110 (Case Management
 8
      Statement).
 9

10    1. PARTIES AND COUNSEL: Please list all presently-named class representatives and presently-

11       named defendants, together with all counsel of record, including counsel’s contact and email
12       information.
13
      2. STATUS OF PLEADINGS: Please indicate whether defendant has filed a Notice of Appearance
14
         or an Answer to the Complaint, and, if so, indicate the filing date(s).
15
      3. POTENTIAL ADDITIONAL PARTIES: Indicate whether any plaintiff presently intends to add
16

17
         additional class representatives, and, if so, the name(s) and date by which these class representatives

18       will be added. Indicate whether any plaintiff presently intends to name additional defendants, and, if

19       so, the name(s) and date by which the defendant(s) will be added. Indicate whether any appearing
20
         defendant presently intends to file a cross-complaint and, if so, the names of cross-defendants and
21
         the date by which the cross-complaint will be filed.
22
      4. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong person or entity,
23
         please explain why the named defendant is improperly named and the proposed procedure to correct
24

25       this error.

26    5. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party believes one or

27       more named plaintiffs might not be an adequate class representative, including reasons of conflict of
28
                                                            2
                                                                                               EXHIBIT 11
                                                                                                 Page 60
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         interest as described in Apple Computer v. Superior Court (2005) 126 Cal.App.4th 1253, please
 1

 2       explain. No prejudice will attach to these responses.

 3    6. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.

 4    7. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list other cases
 5
         with overlapping class definitions. Please identify the court, the short caption title, the docket
 6
         number, and the case status.
 7
      8. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION WAIVER
 8
         CLAUSES: Please state whether arbitration is an issue in this case and attach a sample of any
 9

10       relevant clause of this sort. Opposing parties must summarize their views on this issue.

11    9. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel should identify and describe
12       the significant core issues in the case, and then identify efficient ways to resolve those issues,
13
         including one or more of the following:
14
          Motion to Compel Arbitration,
15
          Early motions in limine,
16

17
          Early motions about particular jury instructions and verdict forms,

18        Demurrers,

19        Motions to strike,
20
          Motions for judgment on the pleadings, and
21
          Motions for summary judgment and summary adjudication.
22
      10. CLASS CONTACT INFORMATION: Counsel should discuss whether obtaining class contact
23
         information from defendant’ s records is necessary in this case and, if so, whether the parties
24

25       consent to an “opt-out” notice process (as approved in Belaire-West Landscape, Inc. v. Superior

26       Court (2007) 149 Cal.App.4th 554, 561). Counsel should address timing and procedure, including

27       allocation of cost and the necessity of a third party administrator.
28
                                                           3
                                                                                             EXHIBIT 11
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      11. PROTECTIVE ORDERS: Parties considering an order to protect confidential information from
 1

 2           general disclosure should begin with the model protective orders found on the Los Angeles Superior

 3           Court Website under “Civil Tools for Litigators.”

 4    12. DISCOVERY: Please discuss a discovery plan. If the parties cannot agree on a plan, summarize
 5
             each side’s views on discovery. The court generally allows discovery on matters relevant to class
 6
             certification, which (depending on circumstances) may include factual issues also touching the
 7
             merits. The court generally does not permit extensive or expensive discovery relevant only to the
 8
             merits (for example, detailed damages discovery) at the initial stage unless a persuasive showing
 9

10           establishes early need. If any party seeks discovery from absent class members, please estimate how

11           many, and also state the kind of discovery you propose 1.
12    13. INSURANCE COVERAGE: Please state if (1) there is insurance for indemnity or reimbursement,
13
             and (2) whether there are any insurance coverage issues which might affect settlement.
14
      14. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each party’s position
15
             about it. If pertinent, how can the court help identify the correct neutral and prepare the case for a
16

17
             successful settlement negotiation?

18    15. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for the following:

19            The next status conference,
20
              A schedule for alternative dispute resolution, if it is relevant,
21
              A filing deadline for the motion for class certification, and
22
              Filing deadlines and descriptions for other anticipated non-discovery motions.
23
      16. REMINDER WHEN SEEKING TO DISMISS:
24

25               “A dismissal of an entire class action, or of any party or cause of action in a class action, requires
                 court approval. . . . Requests for dismissal must be accompanied by a declaration setting forth
26               the facts on which the party relies. The declaration must clearly state whether consideration,

27
      1
          See California Rule of Court, Rule 3.768.
28
                                                               4
                                                                                                 EXHIBIT 11
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                 direct or indirect, is being given for the dismissal and must describe the consideration in detail.” 2
 1

 2           If the parties have settled the class action, that too will require judicial approval based on a noticed

 3           motion (although it may be possible to shorten time by consent for good cause shown).

 4    17. REMINDER WHEN SEEKING APPROVAL OF A SETTLEMENT:
 5
             Plaintiff(s) must address the issue of any fee splitting agreement in their motion for preliminary
 6
             approval and demonstrate compliance with California Rule of Court 3.769, and the Rules of
 7
             Professional Conduct 2-200(a) as required by Mark v. Spencer (2008) 166 Cal.App. 4th 219.
 8
      18. NOTICE OF THE ISC ORDER:
 9

10           Plaintiff’s counsel shall serve this Initial Status Conference Order on all defense counsel, or

11           if counsel is not known, on each defendant and file a Proof of Service with the court within
12
             seven (7) days of the date of this Order. If the Complaint has not been served as of the date
13
             of this Order, plaintiff(s) must serve the Complaint, along with a copy of this Order, within
14

15           five (5) days of the date of this Order. Once served, each as yet non-appearing defendant

16           shall file a Notice of Appearance (identifying counsel by name, firm name, address, email
17
             address, telephone number and fax number). The filing of a Notice of Appearance is without
18
             prejudice to (a) any jurisdictional, substantive or procedural challenge to the Complaint, (b)
19

20           any affirmative defense, and (c) the filing of any cross-complaint in this action.

21
      Dated: 09/27/2023
22

23                                                       ________________________________
                                                                   William F. Highberger /Judge
                                                                  William F. Highberger
24                                                      Judge of the Los Angeles Superior Court

25

26

27
      2
          California Rule of Court, Rule 3.770(a)
28
                                                               5
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          EXHIBIT 12
                                              Case 2:24-cv-00257-PA-JPR Document 1 Filed 01/10/24 Page 94 of 127 Page ID #:94



                                                1   SANG (JAMES) PARK, SBN 232956                                              FILED
                                                    sang@park-lawyers.com                                          S par Cot.u'il: of Ca or -i.a
                                                2   PARK APC                                                         0:. nty llf U!:s Angalie:s
                                                    8383 Wilshire Boulevard, Suite 800
                                                3   Beverly Hills, California 90211                                       111"1712023
                                                    Telephone:     (310) 627-2964                          'lid W. S • :,bi. E:ru:21   'I!!

                                                4   Fax:           (310) 362-8279                          1B. _             R. LC!Za nCl
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                                                5   Attorneys for Plaintiff

                                                6

                                                7                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                8                               FOR THE COUNTY OF LOS ANGELES

                                                9

                                               10   JOSE VALENZUELA, individually and on          Case No.: 23STCV22084
                                                    behalf of all others similarly situated,
                                               11
                                                                  Plaintiff,                      CLASS ACTION
                                               12
                                                          vs.                                     FIRST AMENDED COMPLAINT
                                               13
                                                    EVERI GAMES INC.; and DOES 1 to 10,           (1)   Violation of California Labor Code §§ 510,
                                               14                                                       1194 and 1198 (Unpaid Overtime)
                                                                  Defendants.                     (2)   Violation of California Labor Code
                                               15                                                       §§ 226.7 and 512(a) (Unpaid Meal Period
                                                                                                        Premiums)
                                               16                                                 (3)   Violation of California Labor Code § 226.7
                                                                                                        (Unpaid Rest Period Premiums)
                                               17                                                 (4)   Violation of California Labor Code §§ 1194
                                                                                                        1194.2, 1197, and Minimum Wage Order
                                               18                                                       (Failure to Pay Minimum Wage)
                                                                                                  (5)   Violation of California Labor Code
                                               19                                                       § 226(a) (Failure to Furnish Timely and
                                                                                                        Accurate Wage Statements)
                                               20                                                 (6)   Violation of Labor Code §§ 201 and 202
                                                                                                        (Wages Not Timely Paid Upon Termination)
                                               21                                                 (7)   Violation of California Business &
                                                                                                        Professions Code §§ 17200, et seq.
                                               22                                                 (8)   Violation of California Labor Code §§ 2698
                                                                                                        et seq.
                                               23                                                 (9)   Violation of 29 USC §§ 201 et seq.
                                               24
                                                                                                  DEMAND FOR JURY TRIAL
                                               25

                                               26

                                               27

                                               28


                                                                                  FIRST AMENDED CLASS ACTION COMPLAINT                        EXHIBIT 12
                                                                                                                                                Page 64
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 1                                      JURISDICTION AND VENUE

 2            1.      This class action is brought pursuant to California Code of Civil Procedure §

 3    382. The monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdiction

 4    limits of the Superior Court and will be established according to proof at trial. The penalties

 5    sought by Plaintiff exceed the minimal jurisdiction limits of the Superior Court and will be

 6    established according to proof at trial.

 7            2.      This Court has jurisdiction over this action pursuant to the California

 8    Constitution, Article VI § 10, which grants the Superior Court “original jurisdiction in all causes

 9    except those given by statute to other courts.” The statutes under which this action is brought

10
10    do not specify any other basis for jurisdiction.

11
11            3.      This Court has jurisdiction over all Defendants because, upon information and

12
12    belief, each party is either a citizen of California, has sufficient minimum contacts in California,

13
13    or otherwise intentionally avails itself of the California market so as to render the exercise of

14
14    jurisdiction over it by the California courts consistent with traditional notions of fair play and

15
15    substantial justice.

16
16            4.      Pursuant to CCP § 395(a) trial is proper in any county where any defendant

17
17    resides. Because Defendants are out of state corporations, Plaintiff is free to file in any county

18
18    in California. (Easton v. Superior Court (1970) 12 Cal.App.3d 243, 246)

19
19                                               THE PARTIES

20
20            5.      Plaintiff is, and at all relevant times was, a citizen of the state of California.

21
21    Plaintiff worked as a non-exempt employee from August 2021 to September 16, 2022. Plaintiff

22
22    last earned $29 an hour.

23
23            6.      Plaintiff reserves the right to seek leave to amend this complaint to add new

24
24    plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v.

25
25    American Savings and Loan Association, 5 Cal. 3d 864, 872 (1971), and other applicable law.

26
26            7.      Defendant Everi Games Inc. (“Everi Games” or “Defendants”) is a Delaware

27
27    corporation. At all times hereinafter mentioned, Defendants were employers whose employees

28
28    were engaged throughout this county and the State of California.

                                                    Page 1
                                     FIRST AMENDED CLASS ACTION COMPLAINT                 EXHIBIT 12
                                                                                            Page 65
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 1           8.      Plaintiff does not know the true names or capacities of the persons or entities

 2    sued as DOES 1 to 10, inclusive, and therefore sues them by such fictitious names. Each of the

 3    DOE Defendants was in some manner legally responsible for the violations alleged. Plaintiff

 4    will amend this complaint to set forth the true names and capacities of these Defendants when

 5    they have been ascertained, together with appropriate charging allegations, as may be necessary.

 6           9.      At all times, the Defendants named as DOES 1 to 10, inclusive, and each of

 7    them, were residents of, doing business in, availed themselves of the jurisdiction of, and/or

 8    injured Plaintiff and aggrieved employees in the State of California.

 9           10.     At all times, each Defendant was the agent, servant, or employee of the other

10
10    Defendants and, in acting and omitting to act as alleged herein, acted within the course and

11
11    scope of that agency or employment.

12
12           11.     Everi Games and DOES 1 to 10 are collectively referred to herein as “Defendants.”

13
13                                      DEFENDANTS’ CONDUCT

14
14           12.     Defendants employed Plaintiff as a Field Technician II from August 2021 to

15
15    September 16, 2022. Plaintiff last earned $29 an hour.

16
16           13.     As a Field Technician II, Plaintiff maintained, repaired and replaced casino

17
17    games, e.g., slot machines, at the casinos. Defendants required Plaintiff to, on average, work

18
18    three work orders or tickets at different casinos every shift.

19
19           14.     Plaintiff typically worked a 6 am to 5 pm shift and travelled alone to three

20
20    different casinos in San Diego, Riverside and Arizona—all in one shift. Defendants required

21
21    Plaintiff to drive 1.5 to 2 hours to each casino location and back home. Plaintiff travelled and

22
22    worked alone at the casinos so there was nobody to relieve him for his meal and rest breaks.

23
23           15.     During the course of Plaintiff's employment, Defendants failed to compensate

24
24    Plaintiff and Class members for all overtime hours worked in excess of eight hours per day

25
25    and/or 40 hours per week as required by Labor Code §§ 510 and 1194, and applicable Industrial

26
26    Welfare Commission’s (“IWC”) Wage Orders.

27
27

28
28

                                                   Page 2
                                    FIRST AMENDED CLASS ACTION COMPLAINT              EXHIBIT 12
                                                                                        Page 66
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 1           16.     Plaintiff and Class members were not authorized or permitted lawful meal

 2    periods and were not provided with one hour’s wages in lieu thereof in violation of, among

 3    others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders.

 4           17.     Defendants' non-exempt employees were not authorized or permitted lawful meal

 5    periods, and were not provided with one hour’s wages in lieu thereof, in one or more of the

 6    following manners:

 7                   (a)     employees were regularly not authorized or permitted full thirty-minute

 8                           meal periods for workdays in excess of five and/or ten hours and were

 9                           not compensated one hour’s wages in lieu thereof, all in violation of,

10
10                           among others, Labor Code §§ 226.7, 512, and applicable IWC Wage

11
11                           Orders

12
12                   (b)     employees were required to work through their daily meal period(s), or

13
13                           work an unlawful “on-duty meal period”

14
14                   (c)     employees were required to work longer than five hours before being

15
15                           allowed to take a meal period

16
16                   (d)     employees were severely restricted in their ability to take a meal period

17
17           18.     Further Defendants failed to provide Plaintiff and Class members their second

18
18    meal periods for shifts longer than ten hours.

19
19           19.     Plaintiff and Class members were not authorized or permitted lawful rest breaks

20
20    and were not provided with one hour’s wages in lieu thereof in violation of, among others,

21
21    Labor Code § 226.7 and applicable IWC Wage Orders.

22
22           20.     As a result, Defendants failed to timely pay Plaintiff and Class members for all

23
23    wages owed to them and Plaintiff and Class members’ paychecks did not include all wages

24
24    owed to Plaintiff and Class members.

25
25           21.     Defendants also failed to correctly record Plaintiff and Class members' meal

26
26    periods as required by Labor Code § 1198 and applicable IWC Wage Orders.

27
27

28
28

                                                     Page 3
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 1                                    CLASS ACTION ALLEGATIONS

 2           22.    Plaintiff brings this action individually, as well as on behalf of each and all other

 3    persons similarly situated in a concerted effort to improve wages and working conditions for

 4    other non-exempt and/or hourly employees, and thus seeks class certification under Code of

 5    Civil Procedure § 382.

 6           23.    All claims alleged arise under California law for which Plaintiff seeks relief

 7    authorized by California law.

 8           24.    The proposed Class consists of and is defined as:

 9                  All current and/or former non-exempt employees that worked for
                    Defendants in California within four years prior to the filing of this
10
10                  Complaint
11
11
             25.    The proposed subclasses consist of and are defined as:
12
12
                    OVERTIME SUBCLASS: All members of the Class who were
13
13                  not paid overtime compensation for all hours worked in excess
                    of eight hours per day and/or 40 hours per week
14
14
                    MEAL PERIOD SUBCLASS: All members of the Class who
15
15                  were not authorized or permitted to take a 30-minute,
                    uninterrupted meal period for every five hours worked per day
16
16                  and were not compensated one hour’s pay for each day on
                    which such meal period was not authorized or permitted
17
17
                    REST BREAK SUBCLASS: All members of the Class who
18
18                  were not authorized or permitted to take a 10-minute,
                    uninterrupted rest break for every four hours worked per day, or
19
19                  major fraction thereof, and were not compensated one hour’s
                    pay for each day on which such rest break was not authorized or
20
20                  permitted

21
21                  UNPAID WAGES SUBCLASS: All members of the Class who
                    performed work for Defendants and were not compensated
22
22
                    WAITING TIME SUBCLASS: All members of the Class who, at
23
23                  any time after the date three years prior to the filing of this
                    Complaint, separated their employment from Defendants and
24
24                  were not paid wages within the times specified by Labor Code §§
                    201-203 and are owed restitution for waiting time penalties
25
25                  deriving from wages
26
26                  WAGE STATEMENT SUB-CLASS: All members of the Class
                    who received inaccurate wage statements
27
27
                    FLSA SUB-CLASS: All members of the Class who worked in the
28
28                  United States in the past three years

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 1           26.     Plaintiff reserves the right to establish additional subclasses as appropriate.

 2           27.     At all material times, Plaintiff was a member of the Class.

 3           28.     There is a well-defined community of interest in the litigation and the Class is

 4    readily ascertainable:

 5                   (a)       Numerosity: The members of the class (and each subclass, if any) are

 6                             so numerous that joinder of all members would be unfeasible and

 7                             impractical. The membership of the entire class is unknown to

 8                             Plaintiff at this time; however, the class is estimated to be greater than

 9                             one hundred (100) individuals and the identity of such membership is

10
10                             readily ascertainable by inspection of Defendants’ employment records.

11
11                   (b)       Typicality: Plaintiff is qualified to, and will, fairly and adequately

12
12                             protect the interests of each class member with whom there is a shared,

13
13                             well-defined community of interest. Plaintiff’s claims (or defenses, if

14
14                             any) are typical of all Class members as demonstrated herein.

15
15                   (c)       Adequacy: Plaintiff is qualified to, and will, fairly and adequately

16
16                             protect the interests of each class member with whom there is a shared,

17
17                             well-defined community of interest and typicality of claims, as

18
18                             demonstrated herein. Plaintiff acknowledges that Plaintiff has an

19
19                             obligation to make known to the Court any relationship, conflicts or

20
20                             differences with any class member. Plaintiff's attorneys, the proposed

21
21                             class counsel, are versed in the rules governing class action discovery,

22
22                             certification, and settlement.

23
23                   (d)       Superiority: The nature of this action makes the use of class action

24
24                             adjudication superior to other methods. Class action will achieve

25
25                             economies of time, effort, and expense as compared with separate

26
26                             lawsuits, and will avoid inconsistent outcomes because the same issues

27
27                             can be adjudicated in the same manner and at the same time for the

28
28                             entire class.

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   1                 (e)     Public Policy Considerations: Employers in the State of California

   2                         violate employment and labor laws every day. Current employees are

   3                         often afraid to assert their rights out of fear of direct or indirect

   4                         retaliation. Former employees are fearful of bringing actions because

   5                         they believe their former employers might damage their future

   6                         endeavors through negative references and/or other means. Class

   7                         actions provide the Class members who are not named in the complaint

   8                         with a type of anonymity that allows for the vindication of their rights at

   9                         the same time as their privacy is protected.

 10
 10           29.    There are common questions of law and fact as to the Class (and each subclass, if

 11
 11    any) that predominate over questions affecting only individual members, including but not

 12
 12    limited to:

 13
 13                  (a)     Whether Defendants engaged in a pattern or practice of failing to pay

 14
 14                          Plaintiff and the Class members for the total hours worked during the

 15
 15                          Class period

 16
 16                  (b)     Whether Defendants’ failure to pay wages, without abatement or

 17
 17                          reduction, in accordance with the California Labor Code, was willful

 18
 18                  (c)     Whether Defendants’ timekeeping system and policies failed to record all

 19
 19                          hours worked by Plaintiff and Class members

 20
 20                  (d)     Whether Defendants owe Plaintiffs and Class members overtime pay for

 21
 21                          work over eight hours per day, over 12 hours per day, and/or over forty

 22
 22                          40 hours per week

 23
 23                  (e)     Whether Defendants failed to record Plaintiff and Class members' meal

 24
 24                          periods

 25
 25                  (f)     Whether Defendants deprived Plaintiff and Class members of meal

 26
 26                          periods or required Plaintiff and Class members to work during meal

 27
 27                          periods without compensation

 28
 28

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   1                 (g)     Whether Defendants deprived Plaintiff and Class members of rest periods

   2                         or required Plaintiff and Class members to work during rest periods

   3                         without compensation

   4                 (h)     Whether Defendants’ conduct was willful or reckless

   5                 (i)     Whether Defendants violated Labor Code § 226 by failing to timely

   6                         furnish Plaintiff and Class members with accurate wage statements

   7                 (j)     Whether Defendants violated Labor Code §§ 218.5, 204, 1197, and 1198

   8                         by failing to compensate Plaintiff and Class members for those acts

   9                         Defendants required Plaintiff and Class members to perform for the

 10
 10                          benefit of Defendants

 11
 11                  (k)     Whether Defendants engaged in unfair business practices in violation of

 12
 12                          California Business & Professions Code § 17200, et seq.

 13
 13                  (l)     The appropriate amount of damages, restitution, or monetary penalties

 14
 14                          resulting from Defendants’ violations of California law

 15
 15                                    FIRST CAUSE OF ACTION

 16
 16          Violation of California Labor Code §§ 510, 1194 and 1198—Unpaid Overtime

 17
 17                             (Plaintiff and Class against all Defendants)

 18
 18           30.    Plaintiff incorporates all paragraphs above as though fully set forth herein.

 19
 19           31.    California Labor Code § 510 provides that employees in California shall not be

 20
 20    employed more than eight hours in any workday or 40 hours in a workweek unless they receive

 21
 21    additional compensation beyond their regular wages in amounts specified by law.

 22
 22           32.    California Labor Code §§ 1194 and 1198 provide that employees in California

 23
 23    shall not be employed more than eight hours in any workday unless they receive additional

 24
 24    compensation beyond their regular wages in amounts specified by law. Additionally California

 25
 25    Labor Code § 1198 states that the employment of an employee for longer hours than those fixed

 26
 26    by the Industrial Welfare Commission is unlawful. The governing Wage Order of the Industrial

 27
 27    Welfare Commission requires, among other things, payment of a premium wage rate for all

 28
 28    hours worked in excess of eight hours per day or 40 hours per week.

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   1          33.     During the course of Plaintiff and Class members’ employment, Defendants

   2   failed to compensate Plaintiff and Class members for all overtime hours worked in excess of

   3   eight hours per day and/or 40 hours per week as required by Labor Code §§ 510 and 1194.

   4          34.     At all times, Defendants failed to pay Plaintiff and Class members overtime

   5   compensation for the hours they have worked in excess of the maximum hours permissible by

   6   law as required by California Labor Code § 510 and 1198. Plaintiff and Class members were

   7   regularly required to work overtime hours without receiving overtime pay.

   8          35.     By virtue of Defendants’ unlawful failure to pay additional, premium rate

   9   compensation to Plaintiff and Class members for their overtime hours worked, Plaintiff and

 10
 10    Class members have suffered, and will continue to suffer, damages in amounts which are

 11
 11    presently unknown to them but which exceed the jurisdictional limits of this Court and which

 12
 12    will be ascertained according to proof at trial.

 13
 13           36.     Plaintiff and Class members request recovery of overtime compensation

 14
 14    according to proof, interest, attorney’s fees and costs pursuant to California Labor Code §

 15
 15    1194(a), as well as the assessment of any statutory penalties against Defendants, in a sum as

 16
 16    provided by the California Labor Code and/or other statutes.

 17
 17           37.     Further Plaintiff and Class members are entitled to seek and recover reasonable

 18
 18    attorneys’ fees and costs pursuant to California Labor Code § 1194.

 19
 19                                    SECOND CAUSE OF ACTION

 20
 20     Violation of California Labor Code §§ 226.7 and 512(a)—Unpaid Meal Period Premiums

 21
 21                              (Plaintiff and Class against all Defendants)

 22
 22           38.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

 23
 23           39.     The applicable IWC Wage Order and California Labor Code §§ 226.7 and

 24
 24    512(a) were applicable to Plaintiff’s employment by Defendants.

 25
 25           40.     California Labor Code § 226.7 provides that no employer shall require an

 26
 26    employee to work during any meal period mandated by an applicable order of the IWC.

 27
 27           41.     The applicable IWC Wage Order and California Labor Code § 512(a) provide

 28
 28    that an employer may not require, cause or permit an employee to work for a period of more

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   1   than five (5) hours per day without providing the employee with an uninterrupted meal period of

   2   not less than thirty (30) minutes, except that if the total work period per day of the employee is

   3   not more than six (6) hours, the meal period may be waived by mutual consent of both the

   4   employer and the employee.

   5          42.     Plaintiff was required to work for periods longer than five (5) hours without an

   6   uninterrupted meal period of not less than thirty (30) minutes. Plaintiff was not authorized or

   7   permitted lawful meal periods, and was not provided with one hour’s wages in lieu thereof in

   8   violation of, among others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders.

   9          43.     Defendants willfully required Plaintiff to work during meal periods and failed to

 10
 10    compensate Plaintiff for work performed during meal periods.

 11
 11           44.     Defendants failed to pay Plaintiff the full meal period premium due pursuant to

 12
 12    California Labor Code § 226.7.

 13
 13           45.     Defendants’ conduct violates the applicable IWC Wage Orders and California

 14
 14    Labor Code §§ 226.7 and 512(a).

 15
 15           46.     Pursuant to the applicable IWC Wage Order and California Labor Code §

 16
 16    226.7(b), Plaintiff is entitled to recover one additional hour of pay at the employee’s regular

 17
 17    hourly rate of compensation for each workday that the meal period was not provided.

 18
 18                                     THIRD CAUSE OF ACTION

 19
 19            Violation of California Labor Code § 226.7—Unpaid Rest Period Premiums

 20
 20                              (Plaintiff and Class against all Defendants)

 21
 21           47.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

 22
 22           48.     The applicable IWC Wage Order and California Labor Code § 226.7 were

 23
 23    applicable to Plaintiff’s employment by Defendants.

 24
 24           49.     California Labor Code § 226.7 provides that no employer shall require an

 25
 25    employee to work during any rest period mandated by an applicable order of the IWC.

 26
 26           50.     The applicable IWC Wage Order provides that “[e]very employer shall authorize

 27
 27    and permit all employees to take rest periods, which insofar as practicable shall be in the middle

 28
 28    of each work period” and that the “rest period time shall be based on the total hours worked

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   1   daily at the rate of ten (10) minutes net rest time per four (4) hours or major fraction thereof”

   2   unless the total daily work time is less than three and one-half (3½) hours.

   3          51.     Defendants required Plaintiff to work four (4) or more hours without authorizing

   4   or permitting a ten (10) minute rest period per each four (4) hour period worked.

   5          52.     Defendants willfully required Plaintiff to work during rest periods and failed to

   6   compensate Plaintiff for work performed during rest periods.

   7          53.     Defendants failed to pay Plaintiff the full rest period premium due pursuant to

   8   California Labor Code § 226.7. Defendants’ conduct violates the applicable IWC Wage Orders

   9   and California Labor Code § 226.7.

 10
 10           54.     Pursuant to the applicable IWC Wage Order and California Labor Code §

 11
 11    226.7(b), Plaintiff is entitled to recover one additional hour of pay at the employee’s regular

 12
 12    hourly rate of compensation for each workday that the rest period was not provided.

 13
 13                                    FOURTH CAUSE OF ACTION

 14
 14     Violation of California Labor Code §§ 1194, 1194.2, 1197 and Minimum Wage Order—

 15
 15                                    Failure to Pay Minimum Wages

 16
 16                              (Plaintiff and Class against all Defendants)

 17
 17           55.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

 18
 18           56.     California Labor Code § 1197 provides, “the minimum wage for employee fixed

 19
 19    by the commission is the minimum wage to be paid to employees, and the payment of a less

 20
 20    wage than minimum wage so fixed is unlawful.”

 21
 21           57.     Defendants paid Plaintiff and Class members less than minimum wages when it

 22
 22    required them to work during meal periods and rest breaks and donning and doffing “off the

 23
 23    clock;” and when it failed to pay them proper compensation for all hours worked, including time

 24
 24    worked during their missed and/or interrupted meal and/or rest periods and “off the clock.”

 25
 25           58.     Defendants have knowingly and willfully refused to compensate Plaintiff and

 26
 26    Class members for all wages earned, and all hours worked, at the required minimum wage. As a

 27
 27    direct result Plaintiff and Class members have suffered and continue to suffer, substantial losses

 28
 28    related to the use and enjoyment of such compensation and wages; lost interest on such monies

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   1   and expenses; and attorney’s fees in seeking to compel Defendants to fully perform their

   2   obligation under state law, all to their respective damage in amounts according to proof at trial

   3   and within the jurisdiction of this Court.

   4          59.     In relevant part, California Labor Code § 1194 et seq. provides that any

   5   employee receiving less than minimum wage applicable to the employee is entitled to recover in

   6   a civil action the unpaid balance of the amount of this minimum wage, including interest,

   7   reasonable attorney’s fees, and cost of suit, which Plaintiff and Class members seek.

   8          60.     Pursuant to California Labor Code § 1194.2, Plaintiff and Class members seek

   9   liquidated damages available to employees who file an action under Labor Code §1194.

 10
 10                                      FIFTH CAUSE OF ACTION

 11
 11                            Violation of California Labor Code § 226(a)—

 12
 12                      Failure to Furnish Timely and Accurate Wage Statements

 13
 13                              (Plaintiff and Class against all Defendants)

 14
 14           61.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

 15
 15           62.     At all material times set forth herein, California Labor Code § 226(a) provides

 16
 16    that every employer shall furnish each of his or her employees an accurate itemized wage

 17
 17    statement in writing showing nine pieces of information, including: (1) gross wages earned, (2)

 18
 18    total hours worked by the employee, (3) the number of piece-rate units earned and any

 19
 19    applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions, provided

 20
 20    that all deductions made on written orders of the employee may be aggregated and shown as one

 21
 21    item, (5) net wages earned, (6) the inclusive dates of the period for which the employee is paid,

 22
 22    (7) the name of the employee and the last four digits of his or her social security number or an

 23
 23    employee identification number other than a social security number, (8) the name and address of

 24
 24    the legal entity that is the employer, and (9) all applicable hourly rates in effect during the pay

 25
 25    period and the corresponding number of hours worked at each hourly rate by the employee.

 26
 26           63.     Defendants have intentionally and willfully failed to provide employees with

 27
 27    complete and accurate wage statements. The deficiencies include, among other things, the

 28
 28    failure to correctly identify the total hours worked and the gross wages earned by Plaintiff and

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   1   Class members; the overtime hours worked by Plaintiff and Class members; and the meal period

   2   and rest break premiums owing to Plaintiff and Class members.

   3          64.     As a result of Defendants’ violation of California Labor Code § 226(a), Plaintiff

   4   and Class members have suffered injury and damage to their statutorily protected rights.

   5          65.     Specifically Plaintiff and Class members have been injured by Defendants’

   6   intentional violation of California Labor Code § 226(a) because they were denied both their

   7   legal right to receive, and their protected interest in receiving, accurate, itemized wage

   8   statements under California Labor Code § 226(a).

   9          66.     Plaintiff was also injured as a result of having to bring this action to attempt to

 10
 10    obtain correct wage information following Defendants' refusal to comply with many of the

 11
 11    mandates of California’s Labor Code and related laws and regulations.

 12
 12           67.     Plaintiff and Class members are entitled to recover from Defendants the greater

 13
 13    of their actual damages caused by Defendants’ failure to comply with California Labor Code §

 14
 14    226(a), or an aggregate penalty not exceeding four thousand dollars per employee.

 15
 15           68.     Plaintiff and Class members are also entitled to injunctive relief to ensure

 16
 16    compliance with this section, pursuant to California Labor Code § 226(g).

 17
 17                                      SIXTH CAUSE OF ACTION

 18
 18                         Violation of California Labor Code §§ 201 and 202—

 19
 19                               Wages Not Timely Paid Upon Termination

 20
 20                               (Plaintiff and Class against all Defendants)

 21
 21           69.     Plaintiff incorporates all paragraphs above as though fully set forth herein

 22
 22           70.     At all times, California Labor Code §§ 201 and 202 provide that if an employer

 23
 23    discharges an employee, the wages earned and unpaid at the time of discharge are due and

 24
 24    payable immediately, and that if an employee voluntarily leaves his or her employment, his or

 25
 25    her wages shall become due and payable not later than 72 hours thereafter, unless the employee

 26
 26    has given 72 hours previous notice of his or her intention to quit, in which case the employee is

 27
 27    entitled to his or her wages at the time of quitting.

 28
 28           71.     During the relevant time period, Defendants willfully failed to pay Class

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   1   members who are no longer employed by Defendants their wages, earned and unpaid, either at

   2   the time of discharge, or within 72 hours of their leaving Defendants’ employ.

   3          72.     Class members' final paychecks did not include all wages owed to them.

   4          73.     Defendants’ failure to pay those Class members who are no longer employed by

   5   Defendants their wages earned and unpaid at the time of discharge is in violation of California

   6   Labor Code §§ 201 and 202.

   7          74.     California Labor Code § 203 provides that if an employer willfully fails to pay

   8   wages owed, in accordance with sections 201 and 202, then the wages of the employee shall

   9   continue as a penalty from the due date, and at the same rate until paid or until an action is

 10
 10    commenced; but the wages shall not continue for more than 30 days.

 11
 11           75.     Class members are entitled to recover from Defendants their additionally

 12
 12    accruing wages for each day they were not paid, at their regular hourly rate of pay, up to 30 days

 13
 13    maximum pursuant to California Labor Code § 203.

 14
 14                                   SEVENTH CAUSE OF ACTION

 15
 15                 Violation of California Business & Professions Code § 17200, et seq.

 16
 16                              (Plaintiff and Class against all Defendants)

 17
 17           76.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

 18
 18           77.     Defendants, and each of them, are “persons” as defined under Business &

 19
 19    Professions Code § 17021.

 20
 20           78.     Defendants’ conduct, as alleged herein, has been, and continues to be, unfair,

 21
 21    unlawful, and harmful to Plaintiff, Class members, and to the general public. Plaintiff seeks to

 22
 22    enforce important rights affecting the public interest within the meaning of Code of Civil

 23
 23    Procedure § 1021.5.

 24
 24           79.     Defendants’ activities, as alleged herein, are violations of California law, and

 25
 25    constitute unlawful business acts and practices in violation of California Business & Professions

 26
 26    Code § 17200, et seq.

 27
 27           80.     A violation of California Business & Professions Code § 17200, et seq. may be

 28
 28    predicated on the violation of any state or federal law. All of the acts described herein as

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   1   violations of, among other things, the California Labor Code and Industrial Welfare

   2   Commission Wage Orders, are unlawful and in violation of public policy; and in addition are

   3   immoral, unethical, oppressive, fraudulent and unscrupulous, and thereby constitute unfair,

   4   unlawful and/or fraudulent business practices in violation of California Business and

   5   Professions Code § 17200, et seq.

   6                                       Failing to Pay Overtime

   7          81.     Defendants’ failure to pay overtime compensation and other benefits in violation

   8   of California Labor Code §§ 510, 1197, and 1198 constitutes unlawful and/or unfair activity

   9   prohibited by Business and Professions Code § 17200, et seq.

 10
 10                              Failing to Provide Meal and Rest Periods

 11
 11           82.     Defendants’ failure to provide legally required meal and rest periods in violation

 12
 12    of California Labor Code, as alleged above, constitutes unlawful and/or unfair activity

 13
 13    prohibited by Business and Professions Code § 17200, et seq.

 14
 14                                         Failing to Pay Wages

 15
 15           83.     Defendants’ failure to pay minimum wages constitutes unlawful and/or unfair

 16
 16    activity prohibited by Business and Professions Code § 17200, et seq.

 17
 17                          Failing to Timely Pay Wages Upon Termination

 18
 18           84.     Defendants’ failure to timely pay wages upon termination in accordance with

 19
 19    Labor Code §§ 201 and 202, as alleged above, constitutes unlawful and/or unfair activity

 20
 20    prohibited by Business and Professions Code § 17200, et seq.

 21
 21                       Failing to Provide Accurate Itemized Wage Statements

 22
 22           85.     Defendants’ failure to provide accurate itemized wage statements in accordance

 23
 23    with California Labor Code § 226, as alleged above, constitutes unlawful and/or unfair activity

 24
 24    prohibited by Business and Professions Code § 17200, et seq.

 25
 25                                    Failing to Record Meal Periods

 26
 26           86.     Defendants’ failure to record meal periods in violation of California Labor Code

 27
 27    § 1198 and IWC Wage Order, as alleged above, constitutes unlawful and/or unfair activity

 28
 28    prohibited by Business and Professions Code § 17200, et seq.

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   1          87.     By and through their unfair, unlawful and/or fraudulent business practices

   2   described herein, Defendants have obtained valuable property, money and services from

   3   Plaintiff, and all persons similarly situated, and have deprived Plaintiff, and all persons similarly

   4   situated, of valuable rights and benefits guaranteed by law, all to their detriment.

   5          88.     Plaintiff and Class members suffered monetary injury as a direct result of

   6   Defendants’ wrongful conduct.

   7          89.     Plaintiff, individually, and on behalf of Class members, is entitled to, and does,

   8   seek such relief as may be necessary to disgorge the profits which the Defendants have

   9   acquired, or of which Plaintiff has been deprived, by means of the above-described unfair,

 10
 10    unlawful and/or fraudulent business practices. Plaintiff and Class members are not obligated to

 11
 11    establish individual knowledge of the unfair practices in order to recover restitution.

 12
 12           90.     Plaintiff, individually, and on behalf of Class members, is further entitled to and

 13
 13    do seek a declaration that the above-described business practices are unfair, unlawful and/or

 14
 14    fraudulent, and injunctive relief restraining the Defendants, and each of them, from engaging in

 15
 15    any of the above-described unfair, unlawful and/or fraudulent business practices in the future.

 16
 16           91.     Plaintiff, individually, and on behalf of Class members, has no plain, speedy,

 17
 17    and/or adequate remedy at law to redress the injuries that Plaintiff has suffered as a consequence

 18
 18    of Defendants’ unfair, unlawful and/or fraudulent business practices. As a result of the unfair,

 19
 19    unlawful and/or fraudulent business practices described above, Plaintiff, individually, and on

 20
 20    behalf of Class members, has suffered and will continue to suffer irreparable harm unless

 21
 21    Defendants, and each of them, are restrained from continuing to engage in said unfair, unlawful

 22
 22    and/or fraudulent business practices.

 23
 23           92.     Pursuant to California Business & Professions Code § 17200, et seq., Plaintiff

 24
 24    and Class members are entitled to restitution of the wages withheld and retained by Defendants

 25
 25    during a period that commences four years prior to the filing of this complaint; a permanent

 26
 26    injunction requiring Defendants to pay all outstanding wages due to Plaintiff and Class

 27
 27    members; an award of attorneys’ fees pursuant to California Code of Civil Procedure § 1021.5

 28
 28    and other applicable laws; and an award of costs.

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   1                                   EIGHTH CAUSE OF ACTION

   2                         Violation of California Labor Code §§ 2698, et seq.

   3                             (Plaintiff and Class against all Defendants)

   4          93.     Plaintiff incorporates all paragraphs above as though fully set forth herein.

   5          94.     California Labor Code §§ 2698, et seq. (“PAGA”) permits Plaintiff to recover

   6   civil penalties for the violation(s) of the Labor Code.

   7          95.     At all times, PAGA was applicable to Plaintiff’s employment by Defendants.

   8          96.     At all times, PAGA provides that any provision of law under the California

   9   Labor Code that provides for a civil penalty to be assessed and collected by the LWDA for

 10
 10    violations of the California Labor Code may, as an alternative, be recovered through a civil

 11
 11    action brought by an aggrieved employee on behalf of herself and other current or former

 12
 12    employees pursuant to procedures outlined in California Labor Code § 2699.3.

 13
 13           97.     Pursuant to PAGA, a civil action under PAGA may be brought by an “aggrieved

 14
 14    employee,” who is any person that was employed by the alleged violator and against whom one

 15
 15    or more of the alleged violations was committed.

 16
 16           98.     Plaintiff was employed by Defendants and the alleged violations were committed

 17
 17    against him during his time of employment and he is, therefore, Aggrieved Employee. Plaintiff

 18
 18    and other employees are Aggrieved Employees as defined by California Labor Code § 2699(c)

 19
 19    in that they are all current or former employees of Defendants who are or were employed by

 20
 20    Defendants, and one or more of the alleged violations were committed against them.

 21
 21           99.     Pursuant to California Labor Code §§ 2699.3 and 2699.5, an aggrieved

 22
 22    employee, including Plaintiff, may pursue a civil action arising under PAGA after the following

 23
 23    requirements have been met:

 24
 24                   (a)     The aggrieved employee shall give written notice (“Employee’s Notice”)

 25
 25                           to the LWDA and the employer of the specific provisions of the

 26
 26                           California Labor Code alleged to have been violated, including the facts

 27
 27                           and theories to support the alleged violations.

 28
 28                   (b)     The LWDA shall provide notice (“LWDA Notice”) to the employer and

                                                    Page 16
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   1                          the aggrieved employee by certified mail that it does not intend to

   2                          investigate the alleged violation within sixty (60) calendar days of the

   3                          postmark date of the Employee’s Notice. Upon receipt of the LWDA

   4                          Notice, or if the LWDA Notice is not provided within sixty-five (65)

   5                          calendar days of the postmark date of the Employee’s Notice, the

   6                          aggrieved employee may commence a civil action pursuant to California

   7                          Labor Code § 2699 to recover civil penalties in addition to any other

   8                          penalties to which the employee may be entitled.

   9          100.    On September 13, 2023 Plaintiff provided written notice online to the LWDA,

 10
 10    and by certified mail to Defendants, of the specific provisions of the California Labor Code

 11
 11    alleged to have been violated, including the facts and theories to support the alleged violations.

 12
 12           101.    Plaintiff has satisfied the administrative prerequisites under California Labor

 13
 13    Code § 2699.3(a) to recover civil penalties against Defendants, in addition to other remedies, for

 14
 14    violations of California Labor Code §§ 200, 201, 202, 203, 204, 221, 224, 226(a), 226.7, 226.8,

 15
 15    510, 512(a), 1102.5, 1174, 1194, 1197, and 1198.

 16
 16           102.    Pursuant to California Labor Code §§ 2699(a), 2699.3 and 2699.5, Plaintiff and

 17
 17    all other aggrieved employees are entitled to recover civil penalties against Defendants, in

 18
 18    addition to other remedies, for violations of California Labor Code §§ 200, 201, 202, 203, 204,

 19
 19    221, 224, 226(a), 226.7, 226.8, 510, 512(a), 1102.5, 1174, 1194, 1197, and 1198.

 20
 20           103.    Further Plaintiff is entitled to seek and recover reasonable attorneys’ fees and

 21
 21    costs pursuant to California Labor Code § 2699 and any other applicable statute.

 22
 22                                     NINTH CAUSE OF ACTION

 23
 23                   Violation of 29 USC §§ 201, et seq.—Fair Labor Standards Act

 24
 24                          (Plaintiff and FLSA Class against all Defendants)

 25
 25           104.    Plaintiff incorporates all paragraphs above as though fully set forth herein.

 26
 26           105.    At all material times herein, Plaintiff and all similarly situated FLSA Class who

 27
 27    submit consents to become party Plaintiffs are or were employed by and engaged in providing

 28
 28    services necessary to description of duties by Defendant, and have been entitled to the rights,

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   1   protections, and benefits provided under the FLSA. 29 U.S.C. §§ 201 et seq.

   2          106.    The FLSA requires, among other things, that employers pay employees the

   3   minimum wage for all time worked plus overtime. 29 U.S.C. §§ 206, 207, 215

   4          107.    At all material times, all time worked by Plaintiff and FLSA Class is necessarily

   5   and directly related to the principal activities of the employee's duties, and thus constitutes

   6   compensable time under the FLSA and is subject to the FLSA's overtime requirements.

   7   29 C.F.R. § 785.38

   8          108.    At all material times herein, Defendants have violated the FLSA by failing to pay

   9   the FLSA Class for all hours worked.

 10
 10           109.    At all material times herein, Defendants have violated the FLSA by failing to pay

 11
 11    FLSA Class at one-and-one-half (1.5) times the regular rate of pay when they worked in excess

 12
 12    of forty (40) hours in a week.

 13
 13           110.    Defendants have also violated the FLSA by failing to keep required accurate

 14
 14    records of all hours worked by their FLSA Class. 29 U.S.C. § 211(c)

 15
 15           111.    Plaintiff and all similarly situated employees are victims of a uniform and entity-

 16
 16    wide compensation policy. This uniform policy, in violation of the FLSA, has been applied to

 17
 17    all employees employed by Defendants.

 18
 18           112.    Plaintiff and all similarly situated individuals are entitled to damages equal to the

 19
 19    mandated pay and overtime premium pay within the three (3) years preceding the filing of this

 20
 20    Complaint, plus periods of equitable tolling, because Defendants acted willfully and knew or

 21
 21    showed reckless disregard of whether their conduct was prohibited by the FLSA.

 22
 22           113.    Defendants have acted neither in good faith nor with reasonable grounds to

 23
 23    believe that their actions and omissions were not a violation of the FLSA. Plaintiff and other

 24
 24    similarly situated individuals are entitled to recover an award of liquidated damages in an

 25
 25    amount equal to the amount of unpaid compensation, including overtime pay, and/or

 26
 26    prejudgment interest at the applicable rate. 29 U.S.C. § 216(b)

 27
 27           114.    As a result of violations of the FLSA's minimum wage and overtime pay

 28
 28    provisions, Defendants have unlawfully withheld compensation from Plaintiff and all similarly

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   1   situated individuals. Defendants are liable for unpaid compensation, together with an amount

   2   equal as liquidated damages, attorneys' fees and costs of this action. 29 U.S.C.§ 216(b)

   3                                        PRAYER FOR RELIEF

   4          Plaintiff, individually, and on behalf of all others similarly situated, prays for relief and

   5   judgment against Defendants, jointly and severally, as follows:

   6                                            Class Certification

   7          1.      That this action be certified as a class action

   8          2.      That Plaintiff be appointed as the representatives of the Class, and

   9          3.      That counsel for Plaintiff be appointed as Class Counsel

 10
 10                                       As to the First Cause of Action

 11
 11           4.      That the Court declare, adjudge and decree that Defendants violated California

 12
 12    Labor Code §§ 510 and 1198 and applicable IWC Wage Orders by wilfully failing to pay all

 13
 13    overtime wages due to Plaintiff and Class members;

 14
 14           5.      For general unpaid wages at overtime wage rates and such general and special

 15
 15    damages as may be appropriate;

 16
 16           6.      For pre-judgment interest on any unpaid overtime compensation commencing

 17
 17    from the date such amounts were due;

 18
 18           7.      For reasonable attorneys’ fees and for costs of suit incurred herein pursuant to

 19
 19    California Labor Code § 1194(a); and,

 20
 20           8.      For such other and further relief as the Court may deem equitable and

 21
 21    appropriate.

 22
 22                              As to the Second and Third Causes of Action

 23
 23           9.      That the Court declare, adjudge and decree that Defendants violated California

 24
 24    Labor Code §§ 226.7 and 512 and applicable IWC Wage Orders by wilfully failing to provide

 25
 25    all meal periods and rest breaks to Plaintiff and Class members;

 26
 26           10.     That the Court make an award to the Plaintiff and Class members of one hour of

 27
 27    pay at each employee's regular rate of compensation for each workday that a meal period and

 28
 28    rest break were not provided;

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   1            11.   For all actual, consequential, and incidental losses and damages, according to

   2   proof;

   3            12.   For premiums pursuant to California Labor Code § 226.7(b);

   4            13.   For pre-judgment interest on any unpaid wages from the date such amounts were

   5   due; and,

   6            14.   For such other and further relief as the Court may deem equitable and

   7   appropriate.

   8                                   As to the Fourth Cause of Action

   9            15.   That the Court declare, adjudge and decree that Defendants violated California

 10
 10    Labor Code §§ 1194 and 1197;

 11
 11             16.   For general unpaid wages and such general and special damages as may be

 12
 12    appropriate;

 13
 13             17.   For pre-judgment interest on any unpaid compensation commencing from the

 14
 14    date such amounts were due;

 15
 15             18.   For liquidated damages;

 16
 16             19.   For reasonable attorneys’ fees and for costs of suit incurred; and

 17
 17             20.   For such other and further relief as the Court may deem equitable and

 18
 18    appropriate.

 19
 19                                     As to the Fifth Cause of Action

 20
 20             21.   That the Court declare, adjudge and decree that Defendants violated the record

 21
 21    keeping provisions of California Labor Code § 226(a) and applicable IWC Wage Orders as to

 22
 22    Plaintiff and Class members, and wilfully failed to provide accurate itemized wage statements;

 23
 23             22.   For all actual, consequential and incidental losses and damages, according to

 24
 24    proof;

 25
 25             23.   For statutory penalties pursuant to California Labor Code § 226(e);

 26
 26             24.   For injunctive relief to ensure compliance with this section, pursuant to

 27
 27    California Labor Code § 226(g); and,

 28
 28             25.   For such other and further relief as the Court may deem equitable and

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   1   appropriate.

   2                                   As to the Sixth Cause of Action

   3            26.   That the Court declare, adjudge and decree that Defendants violated California

   4   Labor Code §§ 201, 202, and 203 by wilfully failing to pay all compensation owed at the time

   5   of termination of the employment of terminated Class members;

   6            27.   For all actual, consequential and incidental losses and damages, according to

   7   proof;

   8            28.   For statutory wage penalties pursuant to California Labor Code § 203 for all

   9   Class members who have left Defendants’ employ;

 10
 10             29.   For pre-judgment interest on any unpaid wages from the date such amounts were

 11
 11    due; and,

 12
 12             30.   For such other and further relief as the Court may deem equitable and

 13
 13    appropriate.

 14
 14                                   As to the Seventh Cause of Action

 15
 15             31.   That the Court declare, adjudge and decree that Defendants violated California

 16
 16    Business and Professions Code §§ 17200, et seq. by failing to provide Plaintiff and Class

 17
 17    members all overtime compensation due to them; by failing to provide all meal and rest periods

 18
 18    and failing to pay for all missed meal and rest periods; by failing to pay minimum wages; by

 19
 19    failing to pay timely and earned wages upon termination; by failing to provide accurate itemized

 20
 20    wage statements; and by failing to record meal periods;

 21
 21             32.   For restitution of unpaid wages to Plaintiff and all Class members and

 22
 22    prejudgment interest from the day such amounts were due and payable;

 23
 23             33.   For the appointment of a receiver to receive, manage and distribute any and all

 24
 24    funds disgorged from Defendants and determined to have been wrongfully acquired by

 25
 25    Defendants as a result of violations of California Business & Professions Code §§ 17200 et seq.;

 26
 26             34.   For reasonable attorneys’ fees and costs of suit incurred herein pursuant to

 27
 27    California Code of Civil Procedure § 1021.5;

 28
 28             35.   For injunctive relief to ensure compliance with this section, pursuant to

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                                    FIRST AMENDED CLASS ACTION COMPLAINT              EXHIBIT 12
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   1   California Business & Professions Code § 17200, et seq.; and,

   2          36.     For such other and further relief as the Court may deem equitable and

   3   appropriate.

   4                                   As to the Eighth Cause of Action

   5          37.     That the Court declare, adjudge and decree that Defendants violated the

   6   following California Labor Code sections: 200, 201, 202, 203, 204, 221, 224, 226(a), 226.7,

   7   226.8, 510, 512(a), 1102.5, 1174, 1194, 1197, and 1198;

   8          38.     For civil penalties pursuant to California Labor Code § 2699(a) and/or 2699(f)

   9   and (g) in the amount of at least one hundred dollars ($100) for each violation per pay period for

 10
 10    the initial violation and two hundred dollars ($200) for each aggrieved employee per pay period

 11
 11    for each subsequent violation, plus costs and attorneys’ fees for violation of California Labor

 12
 12    Code §§ 200, 201, 202, 203, 204, 221, 224, 226(a), 226.7, 226.8, 510, 512(a), 1102.5, 1174,

 13
 13    1194, 1197, and 1198; and,

 14
 14           39.     For such other and further relief as the Court may deem equitable and

 15
 15    appropriate.

 16
 16                                    As to the Ninth Cause of Action

 17
 17           40.     That the Court declare, adjudge and decree that Defendants violated 29 USC §§

 18
 18    201, et seq. by willfully failing to pay Class members for all hours worked;

 19
 19           41.     For an award of liquidated damages in an amount equal to the amount of unpaid

 20
 20    compensation, including overtime pay, and/or prejudgment interest at the applicable rate;

 21
 21           42.     For liquidated damages, attorneys' fees and costs of this action; and

 22
 22    ///

 23
 23    ///

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 24    ///

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   1          43.     For such other and further relief as the Court may deem equitable and

   2   appropriate.

   3
   4                                               Respectfully Submitted,

   5   Dated: November 17, 2023                    PARK APC
   6
   7
                                                           /s/ Sang (James) Park
   8                                               By:__________________________________
   9                                                  Sang (James) Park

 10
 10                                                    Attorneys for Plaintiff

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   1                                  DEMAND FOR JURY TRIAL

   2         Plaintiff hereby respectfully demands a jury trial.

   3
   4                                               Respectfully Submitted,

   5   Dated: November 17, 2023                    PARK APC
   6
   7
                                                           /s/ Sang (James) Park
   8                                               By:__________________________________
   9                                                  Sang (James) Park

 10
 10                                                    Attorneys for Plaintiff

 11
 11

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                                                                                                                                                POS-015
ATTORNEY OR PARTY WITHOUT ATTORNEY:                     STATE BAR NO:    232956                                         FOR COURT USE ONLY
NAME: Sang (James) Park
FIRM NAME: PARK APC
STREET ADDRESS: 8383 Wilshire Boulevard, Suite 800                                                           Electronically FILED by
CITY: Beverly Hills                                           STATE: CA      ZIP CODE: 90211                 Superior Court of California,
TELEPHONE NO.: 310-627-2964                                  FAX NO. :
                                                                                                             County of Los Angeles
                                                                                                             12/11/2023 11:32 AM
E-MAIL ADDRESS: sang@park-lawyers.com                                                                        David W, Slayton,
ATTORNEY FOR (Name): Jose Valenzuela                                                                         Executive Officer/Clerk of Court,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                                                                                                             By J, Gnade, Deputy Clerk
 STREET ADDRESS:       312 North Spring Street
 MAILING ADDRESS:
CITY AND ZIP CODE:      Los Angeles 90012
     BRANCH NAME:      Spring Street Courthouse
     Plaintiff/Petitioner: Jose Valenzuela
Defendant/Respondent: Everi Games Inc.
                                                                                                         CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                               23STCV22084


TO (insert name of party being served): Everi Games Inc.

                                                                           NOTICE
    The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.


Date of mailing: November 21, 2023


                                 Sang (James) Park                                   ►
                                 (TYPE OR PRINT NAME)                                          (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                        ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1. [KJ A copy of the summons and of the complaint.
2. [KJ Other (specify):

             Civil Case Coversheet; First Amended General Order; Notice of Case Assignment; Voluntary Efficient Litigation
             Stipulation; Initial Status Conference Order; Minute Order; First Amended Class Action Complaint


(To be completed by recipient):

Date this form is signed:         December 11, 2023

          Alex Miller, attorney on behalf of Everi Games Inc.                        ►
               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                         (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                               ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                    Page 1 of 1

Form Adopted for Mandatory Use
Judicial Council of California
                                         NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                   Code of Civil Procedure,
                                                                                                                                             §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                            www.courtinfo.ca.gov

                                                                                                                              EXHIBIT 13
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           EXHIBIT 14
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   1   SANG (JAMES) PARK, SBN 232956
       sang@park-lawyers.com
   2   PARK APC
       8383 Wilshire Boulevard, Suite 800
   3   Beverly Hills, California 90211
       Telephone:     (310) 627-2964
   4   Fax:           (310) 362-8279

   5   Attorneys for Plaintiff

   6

   7                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

   8                               FOR THE COUNTY OF LOS ANGELES

   9

  10   JOSE VALENZUELA, individually and on          Case No.: 23STCV22084
       behalf of all others similarly situated,
  11                                                 Assigned for all purposes to:
                     Plaintiff,                      Hon. William F. Highberger
  12                                                 Dept. SS10
             vs.
  13                                                 CLASS ACTION
       EVERI GAMES INC.; and DOES 1 to 10,
  14
                     Defendants.                     JOINT INITIAL STATUS CONFERENCE
  15                                                 CLASS ACTION RESPONSE STATEMENT

  16
                                                     Date: January 17, 2024
  17                                                 Time: 2:30 pm
                                                     Place: Department SS10
  18

  19

  20

  21

  22

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  28


                        JOINT INITIAL STATUS CONFERENCE CLASS ACTION RESPONSE STATEMENT EXHIBIT 14
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   1          Pursuant to the Court’s September 27, 2023 Initial Status Conference Order, Plaintiff

   2   Jose Valenzuela, individually, on behalf of all others similarly situated, and as a representative

   3   of other aggrieved employees, and Defendant Everi Games Inc. submit their Joint Initial Status

   4   Conference Class Action Response Statement.

   5   1.     PARTIES AND COUNSEL

   6   Plaintiff Jose Valenzuela                           Defendant Everi Games Inc.

   7   Sang (James) Park                                   Elizabeth A. Sperling
       sang@park-lawyers.com                               esperling@glaserweil.com
   8   PARK APC                                            Alexander R. Miller
       8383 Wilshire Boulevard, Suite 800                  amiller@glaserweil.com
   9   Beverly Hills, California 90211                     Joseph D. Hadacek
       Telephone:     (310) 627-2964                       jhadacek@glaserweil.com
 10
 10    Fax:           (310) 362-8279                       GLASER WEIL FINK HOWARD
                                                             JORDAN & SHAPIRO LLP
 11
 11                                                        600 W Broadway, Suite 1080
                                                           San Diego, California 92101
 12
 12                                                        Telephone: (619) 765-4380
                                                           Fax:        (619) 732-3497
 13
 13

 14
 14
       2.     STATUS OF PLEADINGS
 15
 15
              On December 11, 2023 Defendant returned the executed Notice and Acknowledgement
 16
 16
       of Receipt of Plaintiff’s First Amended Class Action Complaint (FAC). Defendant’s response
 17
 17
       to the FAC is due on January 10, 2024. Defendant anticipates removing this action to federal
 18
 18
       court on that date and has already met and conferred with Plaintiff’s counsel regarding the
 19
 19
       planned removal and subsequent motion to dismiss and motion to strike that it will file.
 20
 20
       3.     POTENTIAL ADDITIONAL PARTIES
 21
 21
              The Parties do not anticipate adding additional parties.
 22
 22
              The Parties will make the appropriate application with the Court if a need arises in the
 23
 23
       future to add an additional party.
 24
 24
       4.     IMPROPERLY NAMED DEFENDANT(S)
 25
 25
               Based on its investigation to date, Defendant does not contend that it has been
 26
 26
       improperly named at this time.
 27
 27

 28
 28

                                                     Page 1
                       JOINT INITIAL STATUS CONFERENCE CLASS ACTION RESPONSE STATEMENT EXHIBIT 14
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   1   5.      ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S)

   2           Plaintiff does not presently intend to add more class representatives or name more

   3   defendants at this time. Adequacy of class representatives is determined at class certification.

   4   Defendant disputes that Plaintiff is an adequate representative, and intends to move to dismiss

   5   and to strike the class action allegations on this basis, among other things.

   6   6.      ESTIMATED CLASS SIZE

   7           Defendant has not yet conveyed the estimated class size to Plaintiff. Defendant does not

   8   believe this is a proper putative class action at all.

   9   7.      OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS

 10
 10            The Parties are unaware of other actions with overlapping class definitions.

 11
 11    8.      POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION

 12
 12            WAIVER CLAUSES

 13
 13            The Parties are unaware of any relevant arbitration and/or class action waiver clauses

 14
 14    applicable to Plaintiff at this time.

 15
 15    9.      POTENTIALLY EARLY CRUCIAL MOTIONS

 16
 16            Defendant intends to remove this action to federal court and to file a motion to dismiss

 17
 17    and motion to strike the FAC and Plaintiff’s class action allegations. Defendant’s counsel has

 18
 18    already conducted a meet and confer discussion with Plaintiff’s counsel on these matters.

 19
 19    10.     CLASS CONTACT INFORMATION

 20
 20            Plaintiff contends class contact information is readily discoverable. Plaintiff will request

 21
 21    that Defendant provide Plaintiff with the complete Class contact information. The Parties will

 22
 22    seek Court intervention if the Parties are unable to resolve any issues regarding Class contact

 23
 23    information. Plaintiff is amenable to an “opt-out” process pursuant to Belaire-West Landscape,

 24
 24    Inc. v. Superior Court (2007) 149 Cal.App.4th 554. Plaintiff will share the costs of the “opt-

 25
 25    out” process with Defendant.

 26
 26            Defendant disputes that this action satisfies the necessary requirements to be maintained

 27
 27    as a class action, and intends to move to dismiss and to strike the class action allegations at the

 28
 28    pleading stage.

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                         JOINT INITIAL STATUS CONFERENCE CLASS ACTION RESPONSE STATEMENT EXHIBIT 14
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   1   11.    PROTECTIVE ORDERS

   2          Parties have not yet discussed the need for a protective order or its scope. However, if a

   3   need arises, Parties will meet and confer regarding a proposed protective order.

   4   12.    DISCOVERY

   5          a.      Plaintiff's Position

   6          It is Plaintiffs' position that the Court need not bifurcate discovery into “class discovery”

   7   and “merits discovery,” and that all discovery may proceed simultaneously. It would be

   8   inefficient to phase discovery between class and merits issues because there will be significant

   9   overlap between class certification and merits discovery.

 10
 10           "Discovery on the merits should not normally be stayed pending so-called class

 11
 11    discovery, because class discovery is frequently not distinguishable from merits discovery, and

 12
 12    class-wide discovery is often a source of circumstantial evidence, even when the class is denied.

 13
 13    Such as discovery bifurcation will often be counterproductive in the delaying the progress of the

 14
 14    suit for orderly and efficient adjudication." (Newberg on Class Actions, §7:8 at 25 (2002))

 15
 15           Plaintiff will, as described above, seek Class member contact information, including the

 16
 16    identification and contact information of putative Class members; employees’ time records,

 17
 17    employees’ wage records, and any and all policies, procedures governing putative Class

 18
 18    members’ employment.

 19
 19           Plaintiff will additionally take Person Most Knowledgeable ("PMK") depositions

 20
 20    including, among others, Defendant’s wage and hour policies and practices, and individual

 21
 21    depositions.

 22
 22           b.      Defendant’s Position

 23
 23           Defendant intends to remove this action to federal court on January 10, 2024, and will be

 24
 24    filing a motion to dismiss and to strike the FAC shortly thereafter. Accordingly, a discovery

 25
 25    plan is premature at this time.

 26
 26    13.    INSURANCE COVERAGE

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 27           There is no applicable insurance coverage.

 28
 28

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   1   14.    ALTERNATIVE DISPUTE RESOLUTION

   2          The Parties are generally amenable to private mediation at an appropriate time.

   3   15.    TIMELINE FOR CASE MANAGEMENT

   4          Plaintiff respectfully requests that the Court set a further status conference 45 to 60 days

   5   out, and at which time, the Court and Parties can assess the status of removal to Federal Court,

   6   need and timing of pre-certification motions, discovery, motion for class certification, and any

   7   other dispositive motions.

   8          Defendant intends to remove this action to federal court on January 10, 2024, and thus

   9   anticipates that no further proceedings in this case will be necessary following the removal.

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 10

 11
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                                                     Respectfully Submitted,
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 12
       Dated: January 9, 2024                        PARK APC
 13
 13

 14
 14

 15
 15                                                         /s/ Sang (James) Park
 16
 16                                                  By:__________________________________
                                                        Sang (James) Park
 17
 17
                                                         Attorneys for Plaintiff
 18
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 19

 20
 20    Dated: January 9, 2024
                                                    GLASER WEIL FINK HOWARD
 21
 21                                                  JORDAN & SHAPIRO LLP

 22
 22
                                                    By: /s/ Elizabeth A. Sperling
 23
 23
                                                         ELIZABETH A. SPERLING
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 24                                                      ALEXANDER R. MILLER
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 25                                                      Attorneys for Defendant
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    1                                         PROOF OF SERVICE
    2          I am an active member of the State Bar of California and not a party to the within action. On
    3   January 9, 2024 I served JOINT INITIAL STATUS CONFERENCE CLASS ACTION RESPONSE
        STATEMENT via Email on below:
    4
    5   Elizabeth A. Sperling
        esperling@glaserweil.com
    6   Alexander R. Miller
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        GLASER WEIL FINK HOWARD
    9     JORDAN & SHAPIRO LLP
        600 W Broadway, Suite 1080
   10   San Diego, California 92101

   11   Attorneys for Defendant
        EVERI GAMES INC.
   12
   13
               Executed on January 9, 2024 at Los Angeles, California. I declare under penalty of perjury
   14   under the laws of the State of California that the above is true and correct.
   15
   16
   17
                                                      Sang (James) Park
                                                      ________________________
   18                                                 Sang (James) Park
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